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 Ftll in this information to identify your case:

  United States Bankruptcy Court for the:                                                                           BK 2 1               FILt^ ^
  District of Northern Mariana Islands                                                                                                      CitrK
                                                                                                                                         pMIct Court
 Case number (ir/cnown):                                         _ Chapter you are filing under:
                                                                 —Q^hapler?                        :
                                                                  □ Chapter 11
                                                                  □ Chapter 12
                                                                                                   ‘
                                                                                                                                       JUL 2 3 2021
                                                                  □ Chapter 13
                                                                                                                                      G Check if this is an




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                   ●   041^0

 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,"
 the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
 Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
 same person must be Debtor 1 in ail of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Parti:     Identify Yourself

                                     About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name

   Write the name that is on your
   government-issued picture         Firs
                                         -CfTlu& AivJk                                                    First name
   identification (for example,
   your driver’s license or
   passport).                                                                                             Middle name

   Bring your picture
                                     Last name                                                            Last name
   identification to your meeting
   with the trustee.
                                     Suffix (Sr., Jr„ II, III)                                            Suffix (Sr„ Jr., 11, III)




2. All Other names you
   have used in the last 8           First name                                                           First name
   years
   Include your married or           Middle name                                                          Middle name
   maiden names.
                                     Last name                                                            Last name


                                     First name                                                           First name

                                     Middle name                                                          Middle name

                                     Last name                                                            Last name




3. Only the last 4 digits of
   your Social Security
                                     XXX          XX -           ic 3 2                                   XXX          XX -
   number or federal                 OR                                                                   OR
   Individual Taxpayer
   Identification number             9 XX - XX                                                            9 XX - XX

   (ITiN)

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Debtor 1                                                                                                 Case number of*nown).
              Flisl Name      Middle Name                Leal Name




                                            About Debtor 1:                                                   About Debtor 2(Spouse Only In a Joint Case):


4. Any business names
   and Employer                         J3^a\/e not used any business names or EINs.                          Q I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                         Business name                                                      Business name

    Include trade names and
    doing business as names                 Business name                                                     Business name



                                            EIN                                                               EIN


                                            EIN                                                               EIN




6. Where you live                                                                                             If Debtor 2 lives at a different address:



                                            ('mih. Hill
                                            Number          Street                                            Number        Street




                                            City                                    State     ZIP Code        City                                  State    ZIP Code



                                            County                                                            County


                                            If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                            above, fill it in here. Note that the court v\nll send            yours, fill it in here. Note that the court will send
                                            any notices to you at this mailing address.                       any notices to this mailing address.



                                            Number          Street                                             Number       Street


                                              Y-C. m 9T0^
                                            P.O. Box                                                          P.O. Box



                                            City                                    State     ZIP Code         City                                 Slate    ZIP Code




                                            Check one:                                                         Check one:
6. Why you are choosing
   this districtto file for
                                                        the last 180 days before filing this petition,        Q Over the last 180 days before filing this petition,
    bankruptcy
                                                   I have lived in this district longer than in any             I have lived in this district longer than in any
                                                   other district.                                              other district.

                                            □ I have another reason. Explain.                                 G I have another reason. Explain.
                                                                                                               (See 28 U.S.C. § 1408.)
                                                   (See 28 U.S.C. § 1408.)




                                                                                                                                                                        I




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Debtor 1        \        i.tkr\1\iU I
                 Firtt Name      Middle Name              Last Name
                                                                                                           Case number {/fknoivn).




Part 2:
          I    Tell the Court About Your Bankruptcy Case


7. The chapter of the                          Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
   Bankruptcy Code you                         for Bankruptcy(Form 2010}). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
   under                                  ''Q^Chapter 7

                                               □ chapter 11

                                               □ Chapter 12

                                               □ Chapter 13


8. How you will pay the fee                    □ I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                  local court for more details about how you may pay. Typically, if you are paying the fee
                                                  yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                  submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                 with a pre-printed address,

                                         ,,,-QTneed to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                               □ I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                 By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                 less than 150% of the official poverty line that appiies to your family size and you are unable to
                                                 pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                 Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.     Have you filed for
       bankruptcy within the
       last 8 years?
                                               □   Yes.   District                                 When                       Case number
                                                                                                          MM / DD/YYYY

                                                          District                                 When                       Case number
                                                                                                          MM/ DD/YYYY

                                                          District                                 When                       Case number
                                                                                                          MM / DO/YYYY




10. Are any bankruptcy
    cases pending or being
    filed by a spouse who is                   □   Yes.   Debtor                                                              Relationship to you

    not filing this case with                             District                                 When                       Case number, if known
    you, or by a business                                                                                 MM/DD /YYYY
    partner, or by an
    affiliate?
                                                          Debtor                                                              Relationship to you

                                                          District                                 When                       Case number, if known
                                                                                                          MM/DD/YYYY




11. Do you rent your                           ●cj No.    Go to line 12,
    residence?
                                               □ Yes,     Has your landlord obtained an eviction judgment against you?
                                                          □ No. Go to line 12.
                                                          □ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101 A) and file it as
                                                               part of this bankruptcy petition.




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1
              First Name
                              piuu
                              Middle Name            Last Name
                                                                                                   Case number (ifivjown^




Part 3:
       1    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor                      Go to Part 4,
    of any full- or part-time
    business?                               Q Yes. Name and location of business
   A sole proprietorship is a
   business you operate as an
                                                    Name of business, If any
   individual, and is not a
   separate legal entity such as
   a corporation, partnership, or                   Number       Street
   LLC.
   If you have more than one
   sole proprietorship, use a
   separate sheet and attach It
   to this petition.                                 City                                                  State            ZIP Code


                                                    Check the appropriate box to describe your business:
                                                    □ Health Care Business {as defined in 11 U.S.C. § 101 (27A))
                                                    □ Single Asset Real Estate (as defined in 11 U.S.C. § 101(518))
                                                    □ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    G None of the above


13. Are you filing under                    If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                       choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                    are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
                                            most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
    are you a small business
    debtor or a debtor as                   if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

    defined by 11 U.S. C. §
                                            □ No. I am not filing under Chapter 11.
    1182(1)?
    Fora definition of small
                                            □ No. I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                   the Bankruptcy Code.
    business debtor, see
    11 U.S.C. §101(51D).
                                            □ Yes. I am filing under Chapter 11, 1 am a small business debtor according to the definition in the Bankruptcy
                                                   Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                            □ Yes. I am filing under Chapter 11, 1 am a debtor according to the definition in § 1182(1) of the
                                                    Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




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Debtor 1                                                                                        Case number (i/fcnofcwi)_
               FInt Name      Middle Name          Last Name




 Part 4:
           1   Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any
     property that poses or is
     alleged to pose a threat               □ Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
     immediate attention?                           If immediate attention is needed, why is it needed?

     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                    Where is the property?
                                                                             Number        Street




                                                                             City                                              State   ZIP Code




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Debtor 1     V   niut
              First Name      Middle Name
                                                  P-   Last Name
                                                                                                         Case number {>iknowni




Part 5:
       1   Explain Your Efforts to Receive a Briefing About Credit Counseling

                                            About Debtor 1;                                                    About Debtor 2(Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                   You must check one:                                                 You must check one:
    counseling.
                                            G I received a briefing from an approved credit                    G I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
   The law requires that you                  filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
   receive a briefing about credit            certificate of completion.                                         certificate of completion.
   counseling before you file for
                                              Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
   bankruptcy. You must
   truthfully check one of the                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
   following choices. If you                G I received a briefing from an approved credit                    G I received a briefing from an approved credit
   cannot do so, you are not                  counseling agency within the 180 days before I                     counseling agency within the 180 days before I
   eligible to file.                          filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but 1 do not have a
                                              certificate of completion.                                         certificate of completion.
   If you file anyway, the court              Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you                 you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
   will lose whatever filing fee                                                                                   plan, if any.
                                              plan, if any.
   you paid, and your creditors
   can begin collection activities          G I certify that I asked for credit counseling                     G I certify that I asked for credit counseling
   again.                                     services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                               To ask for a 30-day temporary waiver of the                         To ask for a 30-day temporary waiver of the
                                               requirement, attach a separate sheet explaining                     requirement, attach a separate sheet explaining
                                               what efforts you made to obtain the briefing, why                   what efforts you made to obtain the briefing, why
                                               you were unable to obtain it before you filed for                   you were unable to obtain it before you filed for
                                               bankruptcy, and what exigent circumstances                          bankruptcy, and what exigent circumstances
                                               required you to file this case.                                     required you to file this case.
                                               Your case may be dismissed if the court is                          Your case may be dismissed if the court is
                                               dissatisfied with your reasons for not receiving a                  dissatisfied with your reasons for not receiving a
                                               briefing before you filed for bankruptcy.                           briefing before you filed for bankruptcy.
                                               If the court is satisfied with your reasons, you must               If the court is satisfied with your reasons, you must
                                               still receive a briefing within 30 days after you file.             still receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved                       You must file a certificate from the approved
                                               agency, along with a copy of the payment plan you                   agency, along with a copy of the payment plan you
                                               developed, if any. If you do not do so, your case                   developed, if any. if you do not do so, your case
                                               may be dismissed.                                                   may be dismissed.
                                               Any extension of the 30-day deadline is granted                     Any extension of the 30-day deadline is granted
                                               only for cause and is limited to a maximum of 15                    only for cause and is limited to a maximum of 15
                                               days.                                                               days.

                                            G I am not required to receive a briefing about                    G I am not required to receive a briefing about
                                              credit counseling because of;                                      credit counseling because of:

                                               G Incapacity. I have a mental illness or a mental                   G Incapacity. 1 have a mental illness or a me ntal
                                                             deficiency that makes me                                            deficiency that makes me
                                                             incapable of realizing or making                                    incapable of realizing or making
                                                             rational decisions about finances.                                  rational decisions about finances.
                                               G Disability.       My physical disability causes me                G Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after 1                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                               G   Active duty. i am currently on active military                  G Active duty. I am currently on active military
                                                                duty in a military combat zone.                                   duty in a military combat zone.
                                               If you believe you are not required to receive a                    If you believe you are not required to receive a
                                               briefing about credit counseling, you must file a                   briefing about credit counseling, you must file a
                                               motion for waiver of credit counseling with the court.              motion for waiver of credit counseling with the court.




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Debtor 1
             First Nsm«
                             to f.
                             Middle Name             Last Name
                                                                                                      Case number (intnown).




Part 6:
       1   Answer These Questions for Reporting Purposes


16. What kind of debts do                  16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
                                               as "incurred by an individual primarily for a personal, family, or household purpose,"
    you have?
                                                Q No. Go to line 16b.
                                            ._J3^es. Go to line 17,
                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                Q No, Go to line 16c,
                                                Q Yes. Goto line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.



17. Are you filing under
    Chapter 7?                             □ No.    I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after,.J3^es. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and                       □
    administrative expenses
    are paid that funds will be
    available for distribution
    to unsecured creditors?

18. How many creditors do                  -3^9                                    □ 1.000-5,000                                □ 25,001-50,000
    you estimate that you                  □ 50-99                                 □ 5,001-10,000                               □ 50,001-100,000
    owe?                                   □ 100-199                               □ 10,001-25,000                              □ More than 100,000
                                           □ 200-999

19. How much do you                    .^$0-$50,000                                □   $1,000,001-510 million                   □ $500,000,001-SI billion
    estimate your assets to             □ $50,001-$100,000                         □   $10,000,001-550 million                  □ $1,000,000,001-$10 billion
    be worth?                           □ $100,001-5500,000                        □   $50,000,001-5100 million                 □ $10,000,000,001-550 billion
                                        □ $500.001-SI million                      □   $100,000,001-5500 million                □ More than $50 billion

20. How much do you                   .^□^-$50,000                                 □   $1,000,001-510 million                   □   $500,000,001-S1 billion
    estimate your iiabilities           □ $50,001-5100.000                         □   $10,000,001-S50 million                  □   $1,000,000.001-S10 billion
    to be?                              □ $100,001-$500,000                        □   $50,000,001-$100 million                 □   $10,000,000,001-550 billion
                                        □ $500,001-51 million                      □   $100,000,001-5500 million                Q   More than $50 billion
Part 7iJ Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11. United States Code, I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11. United States Code, specified in this petition.
                                           1 understand making a false statement, concealing properly, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                           X         i
                                               Signaturei^ Debtor 1
                                                                               \
                                                                                                          X
                                                                                                              Signature of Debtor 2

                                               Executed on                                                    Executed on
                                                                 MM   / DD /YYYY                                               MM / DO     /YYYY


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Debtor 1     xTRUt^ Poau
             Flr»INim«      Middfe NBm«              Lttl Name
                                                                                                     Case number (1/Mown).




                                          I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are             to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                        available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                          the notice required by 11 U.S.C, § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.                   X                                                                   Date
                                              Signature of Xttorn^ for Debtor                                                 MM   /    DD /YYYY




                                              Printed name


                                              Firm name


                                              Number      Street




                                             City                                                            State           ZIP Code




                                             Contact phone                                                   Email address




                                             Bar number                                                      State




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Debtor 1
             Pirtt Name
                              /HJkJ P,(
                             Middle Name           La»[Nam«
                                                                                                 Case number <;f»tnoivn)_




For you if you are filing this              The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                       should understand that many people find it extremely difficult to represent
attorney                                    themselves successfully. Because bankruptcy has long-term financial and legal
                                            consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                     To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                     technical, and a mistake or inaction may affect your rights. For example, your case may be
                                            dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                            hearing, or cooperate with the court, case trustee. U.S, trustee, bankruptcy administrator, or audit
                                            firm if your case is selected for audit. If that happens, you could lose your right to file another
                                            case, or you may lose protections, including the benefit of the automatic stay.

                                            You must list all your property and debts in the schedules that you are required to file with the
                                            court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                            in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                            property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                            also deny you a discharge of all your debts If you do something dishonest in your bankruptcy
                                            case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                            cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                            Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                            If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                            hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                            successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                            Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                            be familiar with any state exemption laws that apply.

                                            Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                            consequences?
                                            Q No


                                            Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                            inaccurate or incomplete, you could be fined or imprisoned?
                                            G No


                                            Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                           ,-0^0
                                            □ Yes. Name of Person                                                                                .
                                                   Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).



                                            By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                            have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                            attorney may cause me to lose my rights or property if I do not properly handle the case.


                                           X ~                                                        X
                                             Signature oFO^tor 1                                            Signature of Debtor 2

                                            Date                                                            Date
                                                                                                                              MM/   DD/YYYY

                                            Contact phone                                                   Contact phone

                                            Cell phone                                                      Cell phone

                                            Email address            Cu                      f              Email address



 Official Form 101                                 Voluntary Petition for individuals Filing for Bankruptcy                                   page 9
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    Fill in this information to identify your case;
                                                                                                                                BK2 1                 00002
    Debtor 1         gmgmn
                      Pint Name
                                                         P.
                                                      Middle Name
                                                                     k\{!peXLm^
                                                                              Lett Name

    Debtor 2
 (Spouse, if filing) Fim Name                         Middle Name             Last Name


    United States Bankruptcy Court for the:                             District of
                                                                                          (State)
    Case number
    (If known)




Official Form 101A
Initial Statement About an Eviction Judgment Against You                                                                                                       12/15

File this form with the court and serve a copy on your landlord when you first file bankruptcy only if:

■     you rent your residence; and
■     your landlord has obtained a judgment for possession in an eviction, unlawful detainer action, or
      similar proceeding (called evictionjudgment) against you to possess your residence.


      Landiord’s name

      Landiord's address
                                    Number      Street


                                    City                                     State            ZIP Code


if you want to stay in your rented residence after you file your case for bankruptcy, also complete the certification below.


            Certification About Applicable Law and Deposit of Rent


            I certify under penalty of perjury that:

            □      Under the state or other nonbankruptcy law that applies to the judgment for possession (eviction Judgment).
                   I have the right to stay in my residence by paying my landlord the entire delinquent amount.
            □      I have given the bankruptcy court clerk a deposit for the rent that would be due during the 30 days after I file
                   the Voluntary Petition for Individuals Filing for Bankruptcy (Oti\c\a\ Form 101).


                    X                                                                                    X
                        Signature of Debtor 1                                                                Signature of Debtor 2



                        Date                                                                                 Date
                                  MM/   DD    /YYYY                                                                 MM/    DD        /YYYY



                 Stay of Eviction: (a)        First 30 days after bankruptcy. If you checked both boxes above, signed the form to certify that both apply,
                                              and served your landlord with a copy of this statement, the automatic stay under 11 U.S.C. § 362(a)(3) will
                                              apply to the continuation of the eviction against you for 30 days after you file your Voluntary Petition for
                                              Individuals F///ng for ean/rn/pfcy (Official Form 101).

                                        (b)   Stay after the Initial 30 days. If you wish to stay in your residence after that 30-day period and continue to
                                              receive the protection of the automatic stay under 11 U.S.C. § 362(a)(3), you must pay the entire delinquent
                                              amount to your landlord as stated in the eviction judgment before the 30-day period ends. You must also fill
                                              out Statement About Payment of an Eviction Judgment Against You (Official Form 1018), file it with the
                                              bankruptcy court, and sen/e your landlord a copy of it before the 30-day period ends.


Check the Bankruptcy Rules ( http://www.uscouns.gov/rules-policies/currenl-rules-practice-procedure) and the local court’s website (to find
your court’s website, go to http://www.uscourts.gov/coun-locator) for any specific requirements that you might have to meet to serve this
statement. 11 U.S.C. §§ 362(b)(22) and 362(l)

Official Form 101A                                         Initial Statement About an Eviction Judgment Against You
                             Case 1:21-bk-00002                    Document No. 1                   Filed 07/23/21         Page 11 of 70


                                                                                                                                21                  000 02
Fill in this information to identify your case and this filing:


Debtor 1             Smiei%ju P-
                    Flrtt Name                   Middle Name               Last Name

Debtor 2
(Spouse, if filing) RratName                     Middl« Nam«               Last Name


United States Bankruptcy Court for the; District of Northern Mariana Islands

Case number
                                                                                                                                            G Check if this is an
                                                                                                                                              amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                      12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1
        1     Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
   G'^No. Go to Part 2.
    Q Yes. Where is the property?
                                                                    What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                    Q Single-family home                              the amount of any secured claims on Schedule D:
      1.1.
             Street address, if available, or other description
                                                                    □ Duplex or multi-unit building                   Creditors Who Have Claims Secured by Property.

                                                                    Q Condominium or cooperative                      Current value of the     Current value of the
                                                                    □ Manufactured or mobile home                     entire property?         portion you own?
                                                                    Q Land                                            S.                       S.
                                                                    □    Investment property
                                                                    G Timeshare                                       Describe the nature of your ownership
             City                            State      ZIP Code
                                                                                                                      interest (such as fee simple, tenancy by
                                                                    G Other
                                                                                                                      the entireties, or a life estate), if known.
                                                                    Who has an interest in the property? Check one.

                                                                    G Debtor 1 only
             County                                                 G Debtor 2 only
                                                                    G Debtor 1 and Debtor 2 only                      G    Check if this Is community property
                                                                                                                           (see instructions)
                                                                    G At least one of the debtors and another
                                                                    Other information you wish to add about this item, such as local
                                                                    property identification number:
    If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put

      1.2.
                                                                   □    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                      Creditors Who Have Claims Secured by Property.
                                                                   G    Duplex or multi-unit building
             Street address, if available, or other description
                                                                   □    Condominium or cooperative                    Current value of the     Current value of the
                                                                   G    Manufactured or mobile home                   entire property?         portion you own?
                                                                   G Land                                             S.                       S.
                                                                   □    Investment property

             City                            State      ZIP Code
                                                                   G    Timeshare                                     Describe the nature of your ownership
                                                                                                                      interest (such as fee simple, tenancy by
                                                                   G Other                                            the entireties, or a life estate), if known.
                                                                   Who has an interest In the property? Check one.
                                                                   G Debtor 1 only
             County                                                G Debtor 2 only
                                                                   G Debtor 1 and Debtor 2 only                       G    Check if thi s is community property
                                                                   G At least one of the debtors and another               (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


Official Form 106A/B                                               Schedule A/B: Property                                                              page 1
                                  Case 1:21-bk-00002                       Document No. 1                 Filed 07/23/21              Page 12 of 70

    Debtor 1
                         OIlUtrAnu V-                                                                           Case numberedknown).
                         f\rt{ Nam«     Middia Name            Last Name




                                                                           What Is the property? Check all that apply,           Do not deduct secured claims or exemptions. Put
        1.3.
                                                                           □ Single-family home                                  the amount of any secured claims on Schedule D:

                  Street address, if available, or other description       □ Duplex or multi-unit building                       Credrtors Who Have Claims Secured by Property.

                                                                           □ Condominium or cooperative                          Current value of the       Current value of the

                                                                           □ Manufactured or mobile home                         entire property?           portion you own?

                                                                           □ Land                                                S.
                  gMPPOl                          State      ZIP Code
                                                                           □ Investment property
                                                                           □ Timeshare                                           Describe the nature of your ownership
                  City
                                                                           □ Other                                               interest (such as fee simple, tenancy by
                                                                                                                                 the entireties, or a life estate), if known.

                                                                           Who has an interest in the property? Check one.
                                                                           Q Debtor 1 only
                  County
                                                                           □ Debtor 2 only
                                                                           G Debtor 1 and Debtor 2 only                          □ Check if this is community property
                                                                           □ At least one of the debtors and another                   (see instructions)

                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:



2     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
      you have attached for Part 1. Write that number here




Part 2:
              1    Describe Your Vehicles



Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Confraefs and Unexpired Leases.


3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles


      □ Yes

       3.1,       Make:                                                    Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put

                  Model:                                                   □ Debtor 1 only                                       the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                           □ Debtor? only
                  Year:
                                                                           □ Debtor 1 and Debtor 2 only                          Current value of the
                                                                                                                                 entire property?
                                                                                                                                                            Current value of the
                                                                                                                                                            portion you own?
                  Approximate mileage;                                     G At least one of the debtors and another
                  Other information:
                                                                                                                                 S.
                                                                           G Check if this is community property (see
                                                                             instructions)



      If you own or have more than one, describe here:

       3.2.    Make:                                                       Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put
                                                                                                                                 the amount of any secured claims on Schedule D:
               Model;                                                      G Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                                           G Debtor 2 only
               Year:                                                                                                             Current value of the       Current value of the
                                                                           G Debtor 1 and Debtor 2 only
                                                                                                                                 entire property?           portion you own?
               Approximate mileage:                                        G At least one of the debtors and another
               Other information:
                                                                                                                                 $                          S.
                                                                           G Check if this is community property (see
                                                                             instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 2
                              Case 1:21-bk-00002                Document No. 1                 Filed 07/23/21                  Page 13 of 70

    Debtor 1           D\u^ mu
                       Fmf Nama     Middle Name      liM Name
                                                                                                       Case number (rf*nown).




       3.3.    Make:                                            Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put

               Model:                                           □ Debtor 1 only                                           the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                G Debtor 2 only
               Year:                                                                                                      Current value of the      Current value of the
                                                                G Debtor 1 and Debtor 2 only
                                                                                                                          entire property?          portion you own?
               Approximate mileage;                             G At least one of the debtors and another
               Other information:
                                                                                                                          S.                        S.
                                                                G Check if this is community property (see
                                                                  instructions)


       3.4,    Make:                                            Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
               Model:                                           G   Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                G   Debtor 2 only
               Year:                                                                                                      Current value of the      Current value of the
                                                                G   Debtor 1 and Debtor 2 only
                                                                                                                          entire property?          portion you own?
               Approximate mileage:                             G   At least one of the debtors and another
               Other information:
                                                                G Check if this is community property (see
                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
    ^-0 No
      G Yes


       4.1,    Make;                                            Who has an interest in the property? Check one.           Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
               Model;                                           G   Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                G   Debtor 2 only
               Year:
                                                                G Debtor 1 and Debtor 2 only                              Current value of the      Current value of the
               Other information:                               G At least one of the debtors and another                 entire property?          portion you own?


                                                                G Check if this is community property (see                S                         S
                                                                  instructions)



      If you own or have more than one, list here:

       4.2.    Make:                                            Who has an interest in the property? Check one,           Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
               Model:                                           G   Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                G Debtor 2 only
               Year:                                                                                                      Current value of the      Current value of the
                                                                G Debtor 1 and Debtor 2 only
               Other information:                                                                                         entire property?          portion you own?
                                                                G At least one of the debtors and another


                                                                G Check if this is community property (see
                                                                                                                          S.                        s.
                                                                  instructions)




5     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 3
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 Debtor 1                                                                                        Case number (rfAnown),
                fir^t Name       MIdifie Name    Lasi Name




Part 3:
       I      Describe Your Personal and Household Items

                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured claims
                                                                                                                               or exemptions.
6. Household goods and furnishings
   Example. Major appliances, furniture, linens, china, kitchenware
      No
   G Yes. Describe.

7. Electronics
   Examples: Televisions and radios: audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
     No
   □ Yes. Describe.
                                                                                                                                S.

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      No
   □  Yes. Describe,


9 Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment: bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
   □ Yes, Describe,
10-Firearms
   Exai    rs; Pistols, rifles, shotguns, ammunition, and related equipment
       No
   □   Yes. Describe.                                                                                                           S.

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   Q No                   . -
   □  Yes, Describe                                                                                                             S


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems.
             gold, silver
   G No
   G Yes. Describe.

13. Non-farm animals
   Examples: Dogs, cats, birds, horses
   G No
   G Yes. Describe


14. Any other personal and household items you did not already list, including any health aids you did not list
   G No
   G Yes, Give specific
                                                                                                                                S.
     information             i

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                  s
    for Part 3. Write that number here



Official Form 106A/B                                         Schedule A/B; Property                                                         page 4
                        Case 1:21-bk-00002                     Document No. 1           Filed 07/23/21                  Page 15 of 70

 Debtor 1                                                                                      Case number (//known).
               Firil Nsmt    Middle Nsma           Lait Name




Part 4:     Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not (feduct secured claims
                                                                                                                                    orexemptions-

16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you fiie your petition



   □ Yes                                                                                                       Cash:                 $.


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
              and other similar institutions. If you have multiple accounts with the same institution, list each.


                                                                Institution name:


                             17.1. Checking account:                                                                                 S

                             17.2. Checking account:                Milk VnculiA                                                     S.
                             17.3. Savings account:                                                                                  S.
                             17.4. Savings account:                                                                                  S.
                             17.5. Certificates of deposit:

                             17.6. Other financial account;
                                                                                                                                     S.
                             17.7. Other financial account:                                                                          S
                             17.8. Other financial account:

                             17.9. Other financial account:                                                                          ■~TOf
18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 ''3 No
   O Yes                     Institution or issuer name:

                                                                                                                                     S.
                                                                                                                                     S.
                                                                                                                                     s


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC,-partnership, and joint venture

  -□ No                      Name of entity:                                                                  % of ownership;
   G Yes. Give specific                                                                                        0%          %
     information about                                                                                                               s.
     them                                                                                                      0%          %
                                                                                                               0%          %         s




Official Form 106A/B                                           Schedule A/B: Property                                                            page 5
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 Debtor 1                                                                                        Case number (rfitnoivn).
                   N4m»       Mld(i« Namt               LasI Name




20. Government and corporate bonds and other negotiable and non-negotiable Instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders,
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

   Q No
   Q Yes. Give specific       Issuer name:
     information about
     them                                                                                                                          S.




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans


    □ Yes. List each
       account separately.    Type of account:             Institution name:

                              401(k) or similar plan:                                                                              $.
                              Pension plan:

                              IRA:                                                                                                 $
                              Retirement account:

                              Keogh:

                              Additional account:                                                                                  S.
                              Additional account:




22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities {electric, gas. water), telecommunications
    companies, or others


   □ Yes                                            Institution name or individual:

                              Electric:
                                                                                                                                  S.
                              Gas:
                                                                                                                                  $.
                              Heating oil:
                                                                                                                                  S.
                              Security deposit on rental unit:
                                                                                                                                  S.
                              Prepaid rent:                                                                                       S
                              Telephone:
                                                                                                                                  S.
                             Water:

                              Rented furniture:

                              Other:



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
   G Yes                      Issuer name and description:
                                                                                                                                  S.
                                                                                                                                  S.
                                                                                                                                  S


Official Form 106A/B                                                Schedule AIB: Property                                              page 6
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 Debtor 1                                                                                        Case number <if known).
               Fir^t Name    Mide« N«m«          Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S^. §§ 530(b)(1), 529A(b). and 529(b)(1).
       No
   □ Yes                            Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

                                                                                                                                            S.
                                                                                                                                            S.
                                                                                                                                            S.


25.Trusts, equitable orfuture Interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
       No
   □ Yes.  Give specific
     information about them....


26 Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Exampl^: Internet domain names, websites, proceeds from royalties and licensing agreements
  ,Qi^o
   □ Yes. Give specific
     information about them....                                                                                                             S.


27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
       No
   □ Yes. Give specific
     information about them....                                                                                                             S.


Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

28. Tax refunds owed to you
   .□no
   □ Yes. Give specific information                                                                               Federal:              S
            about them, including whether
            you already filed the returns                                                                         State:
            and the tax years                                                                                     Local:                S


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
   □ Yes. Give specific information.                                                                             Alimony:
                                                                                                                 Maintenance:               S.
                                                                                                                 Support:                   S
                                                                                                                 Divorce settlement:        s.
                                                                                                                 Property settlement:       $.
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
              Social Security benefits; unpaid loans you made to someone else
       No
   □ Yes. Give specific information.                                                                                                        s.


Official Form 106A/B                                         Schedule A/B: Property                                                                   page 7
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 Debtor 1
                Finl Name
                                   Mill p. UumnaiuJ
                               Uidde Nam#   ^   *   LiilNtmt
                                                                                                       Case number (<rtcno>*r<).




31. Interests in insurance policies
              .● Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance


   □ Yes. Name the insurance company              Company name:                                           Beneficiary:                            Surrender or refund value:
          of each policy and list its value. . ..
                                                                                                                                                  $.
                                                                                                                                                  s.
                                                                                                                                                  s.
32. Any Interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
       No
   □ Yes. Give specific information
                                                                                                                                                  5.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Bxampps: Accidents, employment disputes, insurance claims, or rights to sue
        lo
   □ Yes. Describe each claim.
                                                                                                                                                  5.

34. Other contingent and unliquidated claims of every nature, Including counterclaims of the debtor and rights
    to set o^claims
   LLno
       Yes. Describe each claim
                                                                                                                                                  s.


35. Any fii^cial assets you did not already list
       No
   □ Yes. Give specific information.                                                                                                              $.

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here




Part 5;
       I     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do y^ own or have any legal or equitable Interest in any business-related property?
       No. Go to Part 6.
   □ Yes. Go to line 38.
                                                                                                                                                Current value of the
                                                                                                                                                portion you own?
                                                                                                                                                Do not deduct secured claims
                                                                                                                                                or exemptions.
38. Accounts receivable or commissions you already earned
       No
   Q Yes. Describe


39. Office equipment, furnishings, and supplies
   Bxampj^ Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
       No
   □ Yes. Describe

Official Form 106A/B                                           Schedule A/B: Property                                                                        pages
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 Debtor 1     Jliir W F. b\mimo
              Fir»t Name    Middle Name          Last Name
                                                                                            Case number [aknowni



40, Machmgry,fixtures, equipment, supplies you use in business, and tools of your trade
   G No
   □ Yes. Describe                                                                                                            S.


4i.lnv^tory
 ,'-G No
    G Yes. Describe



42 Interests in partnerships or Joint ventures
      lo
   G Yes. Describe
                           Name of entity:                                                                  % of ownership:
                                                                                                                      .%
                                                                                                                       %
                                                                                                                       %      S.


43. Cu^ofner lists, mailing lists, or other compilations
   . G No
   G   Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41 A))?
            G No
            G Yes. Describe
                                                                                                                               S


44. Any bpstness-related property you did not already list
        lo
   G Yes. Give specific
     information


                                                                                                                               S
                                                                                                                               $




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                 S
    for Part 5. Write that number here




Part 6:

        I   Describe Any Farm* and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
    Lino. Go to Part 7.
    G Yes. Go to line 47.
                                                                                                                              Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured claims
                                                                                                                              or exemptions.
47. Farm animals
   Example Livestock, poultry, farm-raised fish
     No
   G Yes

                                                                                                                                   $.


Official Form 106A/B                                         Schedule A/B: Property                                                        page 9
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 Debtor 1              JlUlt? ftKiM.
                    Flr»t N«m»   Middle Name          Last Name
                                                                                               Case number (if knonn).




48. Crog?—either growing or harvested

 ●'Q No                 I
      □
     Yes. Give specific
     information
                                                                                                                                  $.
49. Fan         ind fishing equipment, implements, machinery, fixtures, and tools of trade
          No
      □ Yes
                                                                                                                                  $.
50. Farm and fishing supplies, chemicals, and feed
           lo
      □ Yes
                                                                                                                                  S.
51.               ● and commercial fishing-related property you did not already list

      □ Yes. Give specific
        information                                                                                                               S.

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                   S
    for Part 6. Write that number here



Part 7:
          I       Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
      Examples: Season tickets, country club membership


      G Yes. Give specific
        information                                                                                                                   S.
                                                                                                                                      S.


54. Add the dollar value of all of your entries from Part 7. Write that number here



Part 8:
          I       List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2

56. Part 2: Total vehicles, line 5                                             $

57. Part 3: Total personal and household items, line 15                        S.

58 Part 4: Total financial assets, line 36

59. Part 5: Total business-related property, line 45                           S.

60 Part 6: Total farm- and fishing-related property, line 52                   S

61. Part 7: Total other property not listed, line 54                         +$
62. Total personal property. Add lines 56 through 61.                                            Copy personal property total ^ + S



63. Total of all property on Schedule A/B. Add line 55 + line 62.                                                                S.



Official Form 106A/B                                              Schedule A/B: Property                                                   page 10
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                                                                                                                                             000 02
 Fill in this information to identify your case;

  Debtor 1          ●\
                                            Mithfle Name
                                                           mmimc       Laat Name

  Debtor 2
  (Spouse, rffilir^g)   FinlName            Middle Name                Laat Name


  United States Bankruptcy Court for the: District of Northern Mariana Islands

  Case number                                                                                                                           □ Check if this is an
  (If known)
                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the (op of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:           Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is fiiing with you.

       □ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       □ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)



 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and line on      Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
        Schedule A/B that lists this property              portion you own

                                                           Copy the value from     Check only one box for each exemption.
                                                           Schedule A/B

       Brief
       description:
                                                                                   □
       Line from
                                                                                   □ 100% of fair market value, up to
       Schedule A/B;                                                                  any applicable statutory limit


       Brief
       description:
                                                           S                       □
       Line from
                                                                                   □ 100% of fair market value, up to
       Schedule A/B:                                                                  any applicable statutory limit

       Brief
       description:                                        S.                      □
       Line from                                                                   □ 100% of fair market value, up to
       Schedule A/B:                                                                  any applicable statutory limit


 3.   Are you claiming a homestead exemption of more than $155,675?
      (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
      G No
      G Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            □       No
            G      Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                         page 1 of
<,
                             Case 1:21-bk-00002                  Document No. 1            Filed 07/23/21                Page 22 of 70


     Debtor 1                                                                                     Case number (<r(inotvn).
                    Fir$t Nam«   MrdcJfe Name       Last Name




       Part 2i
                1   Additional Page

           Brief description of the property and line       Current value of the   Amount of the exemption you claim         Specific laws that allow exemption
           on Schedule A/B that lists this property         portion you own
                                                            Copy the value from    Check only one box for each exemption
                                                            Schedule A/B
          Brief
          description:                                                             □$
          Line from                                                                □ 100% of fair market value, up to
          Schedule A/B:                                                               any applicable statutory limit
          Brief
          description:                                                             □$
          Line from                                                                □ 100% of fair market value, up to
          Schedule A/B:                                                               any applicable statutory limit

          Brief
          description:                                                             □$
          Line from                                                                Q 100% of fair market value, up to
          Schedule A/B:                                                              any applicable statutory limit

          Brief
          description:                                      S.                     □S
          Line from                                                                □ 100% of fair market value, up to
          Schedule A/B;                                                               any applicable statutory limit
          Brief
          description:                                      S.                     □$
          Line from                                                                G 100% of fair market value, up to
          Schedule A/B:                                                              any applicable statutory limit

          Brief
          description:                                      s                      □s
          Line from                                                                □ 100% of fair market value, up to
          Schedule A/B:                                                               any applicable statutory limit

          Brief
          description:                                      S.                     □$
          Line from                                                                □ 100% of fair market value, up to
          Schedule A/B;                                                               any applicable statutory limit

          Brief
          description:                                      S.                     □$
          Line from                                                                □ 100% of fair market value, up to
          Schedule A/B:                                                              any applicable statutory limit

          Brief
          description:                                                             □$
          Line from                                                                G 100% of fair market value, up to
          Schedule A/B:                                                              any applicable statutory limit

          Brief
          description:                                                             Gs
          Line from                                                                G 100% of fair market value, up to
          Schedule A/B;                                                              any applicable statutory limit

          Brief
          description:                                                             G$
          Line from                                                                G 100% of fair market value, up to
          Schedule A/B:                                                               any applicable statutory limit

          Brief
          description:                                                             G$
          Line from                                                                G 100% of fair market value, up to
          Schedule A/B:                                                               any applicable statutory limit


     Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                       paQ® 2__of
                                  Case 1:21-bk-00002                     Document No. 1                 Filed 07/23/21                  Page 23 of 70

                                                                                                                                              21                000 02
 Fill in this Information to identify your case:

 Debtor 1                 lVvv\:
                    FirtI Nim«
                                     'I NVJ        r ●      Cl
                                                    Middle Name                   LmI Name

 Debtor 2
 (Spouse, if filing) FinlName                       MiddTe Name                   Last Name


 United States Bankruptcy Court for the: District of Northern Mariana islands

 Case number
 (If known)                                                                                                                                                □ Check if this is an
                                                                                                                                                               amendeid filing


 Official Form 106D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
 additional pages, write your name and case number (if known).


1.    Do any creditors have claims secured by your property?
      G No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      G Yes. Fill in all of the information below.


Part 1:
              1   List Ail Secured Claims

                                                                                                                            Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                     Amount of claim        Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                    Do not deduct the      that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.                             value of collateral.   claim                 If any
2.1
                                                             Describe the property that secures the claim:
       CreCitor’s Name


       NumOer            Street

                                                             As of the date you file, the claim is: Check all that apply.
                                                             Q Contingent
                                                             G Unliquidated
       City                           State   ZiPCoae
                                                             □ Disputed
     Who owes the debt? Check one.                           Nature of lien. Check ell that apply.
     G Debtor 1 only                                         □ An agreement you made (such as mortgage or secured
                                                               car loan)
     G Debtor 2 only
     G Debtor 1 and Debtor 2 only                            □ Statutory lien (such as tax lien, mechanic's lien)
     G At least one of the debtors and another               Q Judgment lien from a lawsuit
                                                             G Other (including a right to offset)
     G Check if this claim relates to a
       community debt
     Date debt was incurred                                  Last 4 digits of account number
T2[
                                                             Describe the property that secures the claim;                                         S.
      Creditor's Name

       Number            Street

                                                             As of the date you file, the claim is: Check all that apply.
                                                             G Contingent
                                                             G Unliquidated
      City                            State   ZIP Code
                                                             G Disputed
     Who owes the debt? Check one.                           Nature of lien. Check all that apply.
     Q Debtor 1 only                                         G An agreement you made (such as mortgage or secured
     G Debtor 2 only                                           car loan)
     G Debtor 1 and Debtor 2 only                            G statutory lien (such as tax lien, mechanic’s lien)
     G At least one of the debtors and another               G Judgment lien from a lawsuit
                                                             G    Other (including a right to offset)
     G Check if this claim relates to a
       community debt
     Date debt was incurred                                  Last 4 digits of account number
       Add the dollar value of your entries in Column A on this page. Write that number here:

Official Form 106D                                  Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of
                                Case 1:21-bk-00002                   Document No. 1                    Filed 07/23/21                    Page 24 of 70


Debtor 1
                   fiisl Nai
                                                                                                                  Case number {Hknowni
                                    Midflio Namo         Last Namo




            I
                                                                                                                              Column A               Column B              Column C
                Additional Page
Parti                                                                                                                         Amount of claim        Value of collateral   Unsecured
                After listing any entries on this page, number them beginning with 2.3, followed
                                                                                                                              Do not deduct the      that supports this    portion
                by 2.4, and so forth.                                                                                                                claim
                                                                                                                              value of collateral.                         If any

                                                         Describe the property that secures the claim:                                               3.
     CreOiior’s Name


     Number            Street


                                                         As of the date you file, the claim is: Check all that apply.
                                                         Q Contingent
     City                           State    ZIP Code    Q Unliquidated
                                                         □ Disputed
 Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
 □     Debtor 1 only                                     □   An agreement you made (such as mortgage or secured
 □     Debtor 2 only                                         car loan)
 □     Debtor 1 and Debtor 2 only                        □   Statutory lien (such as tax lien, mechanic’s lien)
 □     At least one of the debtors and another           □   Judgment lien from a lawsuit

 □     Check if this claim relates to a
                                                         □   Other (including a right to offset)

       community debt

 Date debt was incurred                                  Last 4 digits of account number


                                                         Describe the property that secures the claim;                                               3.
   Creditor's Name


   Number            Street                                                                                               I


                                                         As of the date you file, the claim is: Check all that apply.
                                                         □ Contingent
                                                         Q Unliquidated
   City                             State    ZIP Code
                                                         Q Disputed
 Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
 □     Debtor 1 only                                     □
 □     Debtor 2 only
                                                             An agreement you made (such as mortgage or secured
                                                             car loan)
 □     Debtor 1 and Debtor 2 only                        □   Statutory lien (such as tax lien, mechanic's lien)
 □     At least one of the debtors and another           □   Judgment lien from a lawsuit

 □     Check if this claim relates to a
                                                         □   Other (including a right to offset)

       community debt

 Date debt was incurred                                  Last 4 digits of account number


                                                         Describe the property that secures the claim:
   Creditor's Name                                      I—



   Numbe-            Street


                                                        As of the date you file, the claim is: Check all that apply.
                                                         Q Contingent
   City                             State    ZIP Code    G Unliquidated
                                                         □   Disputed
 Who owes the debt? Check one.                          Nature of lien. Check all that apply.
 □     Debtor 1 only                                     □   An agreement you made (such as mortgage or secured
 □     Debtor 2 only                                         car loan)
 □     Debtor 1 and Debtor 2 only                        □   Statutory lien (such as tax lien, mechanic's lien)
 □     At least one of the debtors and another           □   Judgment lien from a lawsuit

 □     Check if this claim relates to a
                                                         □   Other (including a right to offset)

       community debt

 Date debt was incurred                                 Last 4 digits of account number

            Add the dollar value of your entries in Column A on this page. Write that number here:

            If this is the last page of your form, add the dollar value totals from all pages.
            Write that number here:

Official Form 106D                          Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page       of
                        Case 1:21-bk-00002                   Document No. 1            Filed 07/23/21                    Page 25 of 70


Debtor 1
               First Name    Middle Name         Last Name
                                                                                               Case number (:/(mowri)_


  Part 2:
        ^ List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
 you have more than one creditor for any of the debts that you listed In Part 1, list the additional creditors here. If you do not have additional persons to
 be notified for any debts in Parti, do not fill out or submit this page.

                                                                                          On which line in Part 1 did you enter the creditor?
      Name
                                                                                          Last 4 digits of account number

      Number        Street




      City                                         State         ZIP Code


                                                                                          On which line in Part 1 did you enter the creditor?
      Name
                                                                                          Last 4 digits of account number


      Number        Street




      City                                         State         ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?
      Name                                                                               Last 4 digits of account number


      Number       Street




      City                                         State         ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?
      Name                                                                               Last 4 digits of account number


      Number       Street




      City                                         State         ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?

      Name                                                                               Last 4 digits of account number


      Number       Street




      City                                         State         ZIP Code

                                                                                         On which line in Part 1 did you enter the creditor?

      Name                                                                               Last 4 digits of account number


      Number       Street




      City                                         State         ZIP Code



Official Form 106D                         Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             page      of
                                  Case 1:21-bk-00002             Document No. 1                   Filed 07/23/21                   Page 26 of 70


      Fill in this information to identify your case:
                                                                                                                                             1                00002
       Debtor 1         Niidfemau f-
                          FIrel Name              Middle Name              Last Name
                                                                                       u

      Debtor 2
      (Spouse, if filing) First Name              Middle Name              La$l Name

       United States Bankruptcy Court for the: District of Northern Mariana Islands
                                                                                                                                                        □ Check if this is an
       Case number
       (If known)                                                                                                                                           amentjed filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 AJB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

  Part 1
               1     List All of Your PRIORITY Unsecured Claims

  1.     Do any creditors have priority unsecured claims against you?
         □ No. Go to Part 2.
         □ Yes.
 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                    Total claim        Priority     Nonpriority
                                                                                                                                                       amount       amount

2,1
                                                                  Last 4 digits of account number                              S.
           Pnonty Creaitofs Name
                                                                 When was the debt incurred?
           Number            Street

                                                                 As of the date you file, the claim is: Check all that apply

           City                           State   ZIP Code        □   Contingent

           Who incurred the debt? Check one.
                                                                  □   Unliquidated
                                                                  Q Disputed
           Q Debtor 1 only
           Q Debtor 2 only                                       Type of PRIORITY unsecured claim:
           Q Debtor 1 and Debtor 2 only
                                                                  Q Domestic support obligations
           Q At least one of the debtors and another
                                                                  Q Taxes and certain other debts you owe the government
           Q Check if this claim is for a community debt
                                                                  L] Claims for death or personal injury while you were
                                                                     Intoxicated
           Is the claim subject to offset?
           Q No                                                   Q Other. Specify
           □ Yes
2.2
           Priority Creditor's Name
                                                                 Last 4 digits of account number                               s                  $.
                                                                 When was the debt incurred?
           Number            Street
                                                                 As of the date you file, the claim is: Check all that apply

                                                                 □    Contingent
           City                           State   ZIP Code       Q Unliquidated
           Who incurred the debt? Check one.                     □    Disputed

           □      Debtor 1 only
                                                                 Type of PRIORITY unsecured claim:
           □      Debtor 2 only
                                                                  □   Domestic support obligations
           Q Debtor 1 and Debtor 2 only
           Q At least one of the debtors and another
                                                                  □   Taxes and certain other debts you owe the government

           G Check if this claim is for a community debt
                                                                  □   Claims for death or personal injury while you were
                                                                      Intoxicated

           Is the claim subject to offset?                        □   Other. Specify
           □ No
           □ Yes

 Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of
                              Case 1:21-bk-00002                     Document No. 1                  Filed 07/23/21                 Page 27 of 70

 Debtor 1                                                                                                     Case number (;rAno^n)_
                    Fmr             Middle Name          Last Name


  Part 1:          Your PRIORITY Unsecured Claims                     Continuation Page

  After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                    Total claim       Priority       Nonpriority
                                                                                                                                                              amount         amount



                                                                     Last 4 digits of account number                                   S                  3.             3.
       Priority Creditor's Name

                                                                     When was the debt incurred?
       Number             Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     Q Contingent
       City                               State     ZIP Code         □   Unliquidated

       Who incurred the debt? Check one.
                                                                     □   Disputed


       G Debtor 1 only                                               Type of PRIORITY unsecured claim:
       G Debtor 2 only
                                                                     G   Domestic support obligations
       G Debtor 1 artd Debtor 2 only
                                                                     G Taxes and certain other debts you owe the government
       G      At least one of the debtors and another
                                                                     G   Claims for death or personal injury while you were
                                                                         intoxicated
       G Check if this claim is for a community debt
                                                                     G Other, Specify

       Is the claim subject to offset?
       G No
       Q Yes



                                                                     Last 4 digits of account number                                   3.                 3.             3
      Pnonty Crediior's Name

                                                                     When was the debt incurred?
      Number              Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     G Contingent
      City                               State     ZIP Code          G Unliquidated
                                                                     G   Disputed
      Who incurred the debt? Check one.

      G       Debtor 1 only                                          Type of PRIORITY unsecured claim:
      G Debtor 2 only
                                                                     G   Domestic support obligations
      G Debtor 1 and Debtor 2 only
                                                                     G Taxes and certain other debts you owe the government
      G       At least one of the debtors and another
                                                                     G Claims for death or personal injury while you were
                                                                       intoxicated
      G Check if this claim is for a community debt
                                                                     G Other. Specify

      Is the claim subject to offset?
      G No
      G Yes


                                                                                                                                       3                  3              3
                                                                     Last 4 digits of account number
      Pnonly Creditor’s Name

                                                                     When was the debt incurred?
      Number              Street

                                                                     As of the date you file, the claim is: Check all that apply.

                                                                     G Contingent
      City                               State     ZIP Code          G   Unliquidated
                                                                     G   Disputed
      Who incurred the debt? Check one.

      G Debtor 1 only                                                Type of PRIORITY unsecured claim:
      G Debtor 2 only
                                                                     G   Domestic support obligations
      G Debtor 1 and Debtor 2 only
                                                                     G   Taxes and certain other debts you owe the government
      G At least one of the debtors and another
                                                                     G   Claims for death or personal Injury while you were
                                                                         intoxicated
      G Check if this claim is for a community debt
                                                                     G   Other. Specify

      Is the claim subject to offset?
      G No
      Q Yes



Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                              page       of
                               Case 1:21-bk-00002                        Document No. 1          Filed 07/23/21                    Page 28 of 70

 Debtor 1                                                                                                 Case number (i/*nown).
                      Firit Name      Middle Name            Last Name


  Part 2i


  3.
           1       List All of Your NONPRIORITY Unsecured Claims


       Do any creditors have nonpriority unsecured claims against you?

       D No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       Q Yes

  4.   List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.
                                                                                                                                                                  Total claim
i1
                                                                                     Last 4 digits of account number
         Nonpriohty Creditor's Name                                                                                                                          S.
                                                                                     When was the debt incurred?

         NumBer            Street


         City                                             State          ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                     Q Contingent
        Who incurred the debt? Check one.
                                                                                     Q Unliquidated
         G Debtor 1 only                                                             G Disputed
         G Debtor 2 only
         G Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim;
         G At least one of the debtors and another
                                                                                     G Student loans

         G Check if this claim is for a community debt                               G Obligations an'sing out of a separation agreement or divorce
                                                                                       that you did not report as priohty claims
        Is the claim subject to offset?                                              G   Debts to pension or profit-sharing plans, and other similar debts
        G No                                                                         G Other. Specify
        G Yes


4.2                                                                                  Last 4 digits of account number                                         S

        Nonpnonty Creditor’s Name                                                   When was the debt incurred?


        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        City                                              State          ZIP Code
                                                                                     G Contingent
        Who incurred the debt? Check one.                                            G Unliquidated

        G Debtor 1 only                                                              G Disputed

        G Debtor 2 only
                                                                                    Type of NONPRiORITY unsecured claim:
        G Debtor 1 and Debtor 2 only
        G       At least one of the debtors and another                             G    Student loans
                                                                                    G    Obligations arising out of a separation agreement or divorce
        G Check if this claim is for a community debt                                    that you did not report as priority claims

        Is the claim subject to offset?                                             G    Debts to pension or profit-sharing plans, and other similar debts
        G No                                                                        G    Other. Specify
        G Yes

4.3
                                                                                    Last 4 digits of account number
        Nonpriority Creditor's Name                                                                                                                          S.
                                                                                    When was the debt incurred?

        Number            Street


                                                          State          ZIP Code   As of the date you file, the claim is: Check all that apply.
        City

                                                                                    G Contingent
        Who incurred the debt? Check one.
                                                                                    G Unliquidated
        G Debtor 1 only
                                                                                    G    Disputed
        G Debtor 2 only
        G Debtor 1 and Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
        G At least one of the debtors and another
                                                                                    G    Student loans
        G Check if this claim is for a community debt                               G    Obligations arising out of a separation agreement or divorce
                                                                                         that you did not report as priority claims
        Is the claim subject to offset?
                                                                                    G    Debts to pension or profit-sharing plans, and other similar debts
        G No
                                                                                    G    Other. Specify
        G Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page     of
                             Case 1:21-bk-00002                  Document No. 1         Filed 07/23/21                 Page 29 of 70

 Debtor 1                                                                                         Case number (//fcmwn).
                  Ffnt Name        Middle Name       Last Name



 Part 2i        Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on this page, number them beginning with 4.4, foilowed by 4.5, and so forth.                                                 Total claim



                                                                               Last 4 digits of account number                                         s.
      Nonprionty CrePitors Name
                                                                               When was the debt incurred?

      Number           Street
                                                                               As of the date you file, the claim is: Check all that apply.

      City                                        State          ZIP Code      □   Contingent
                                                                               Q Unliquidated
      Who incurred the debt? Check one.
                                                                               □   Disputed
       Q Debtor 1 only
       G Debtor? only                                                          Type of NONPRIORITY unsecured claim;
      Q Debtor 1 and Debtor 2 only                                             □   Student loans
      Q At least one of the debtors and another
                                                                               □   Obligations arising out of a separation agreement or divorce that
                                                                                   you did not report as priority claims
      Q Check if this claim is for a community debt
                                                                               □   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          □   Other. Specify
      Q No
      □ Yes



                                                                               Last 4 digits of account number
      Nonpnonty Creflilors Name
                                                                               When was the debt incurred?

      Number           Street
                                                                               As of the date you file, the claim is: Check all that apply.

      City                                        State          ZIP Code      Q Contingent
                                                                               Q Unliquidated
      Who incurred the debt? Check one.
                                                                               G Disputed
      G Debtor 1 only
      G Debtor? only                                                           Type of NONPRIORITY unsecured claim:
      G Debtor 1 and Debtor 2 only                                             G   Student loans
      G At least one of the debtors and another
                                                                               G   Obligations arising out of a separation agreement or divorce that
                                                                                   you did not report as priority claims
      G Check if this claim is for a community debt
                                                                               G   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          G   Other. Specify
      G No
      G Yes




                                                                               Last 4 digits of account number
      Nonprionty Creditor’s Name
                                                                              When was the debt incurred?

      Number           Street
                                                                              As of the date you file, the claim is: Check all that apply.

      City                                        State          ZIP Code      G Contingent
                                                                               G   Unliquidated
      Who incurred the debt? Check one.
                                                                               G   Disputed
      G Debtor 1 only
      G      Debtor 2 only                                                    Type of NONPRIORITY unsecured claim:
      G Debtor 1 and Debtor 2 only                                             G   Student loans
      G At least one of the debtors and another
                                                                               G   Obligations arising out of a separation agreement or divorce that
                                                                                   you did not report as priority daims
      G Check if this claim is for a community debt
                                                                               G   Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                          G   Other. Specify
      G No
      G Yes




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                page     of
                          Case 1:21-bk-00002                       Document No. 1          Filed 07/23/21              Page 30 of 70

 Debtor 1                                                                                         Case number or known).
                 FIral Name    Mida:c Name           La»l Name


 Part 3i
         1      List Others to Be Notified About a Debt That You Already Listed

 6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                            Line       of {Check one): □ Part 1: Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                         □ Part 2: Creditors with Nonpriority Unsecured Claims

                                                                            Last 4 digits of account number
       City                                  State               ZIP Code


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                            Line       of (Check one): ^ Part 1; Creditors with Priority Unsecured Claims
       Number         Street
                                                                                                         □    Part 2; Creditors with Nonpriority Unsecured
                                                                            Claims


                                             State               ZIP Code
                                                                            Last 4 digits of account number
      City


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): □ Part 1; Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                         □ Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number          street
                                                                                                         □ Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims


                                             State               ZIP Code
                                                                            Last 4 digits of account number
      City


                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): □ Part 1; Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                         □ Part 2; Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code

                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                            Line       of (Check one): □ Part 1; Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                         □ Part 2: Creditors with Nonpriority Unsecured
                                                                            Claims

                                                                            Last 4 digits of account number
      City                                   State               ZIP Code



      Name
                                                                            On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                            Line       of (Check one): □ Part 1: Creditors with Priority Unsecured Claims
      Number          Street
                                                                                                         □ Part 2; Creditors with Nonpriority Unsecured
                                                                            Claims


      City                                   State               ZIP Code   Last 4 digits of account number


Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                               page    of
                       Case 1:21-bk-00002                   Document No. 1       Filed 07/23/21           Page 31 of 70

Debtor 1                                                                                Case number otknomi
              Ftri^ Name    Middle Name         Last Name



 Part 4:    Add the Amounts for Each Type of Unsecured Claim


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C.§ 159.
    Add the amounts for each type of unsecured claim.




                                                                                  Total claim


                                                                          6a.
Total claims 6a. Domestic support obligations                                     3.
from Part 1
             6b. Taxes and certain other debts you owe the
                 government                                               6b.
                                                                                  3.

               6c. Claims for death or personal Injury while you were
                   intoxicated                                            6c.

               6d. Other. Add all other priority unsecured claims.
                   Write that amount here.                                6d.
                                                                                + s.

               6e. Total. Add lines 6a through 6d.                        6e.
                                                                                  3.


                                                                                 Total claim


Total claims 6f. Student loans                                            6f.
                                                                                  3.
from Part 2
             6g. Obligations arising out of a separation agreement
                 or divorce that you did not report as priority
                 claims                                                   6g.
              6h. Debts to pension or profit-sharing plans, and other
                  similar debts                                           6h.
                                                                                  3.

               6i. Other. Add all other nonpriority unsecured claims.
                   Write that amount here.                                6i.   +3


              6j. Total. Add lines 6f through 6i.                         6j.
                                                                                  3.




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     page   of
                          Case 1:21-bk-00002                     Document No. 1             Filed 07/23/21              Page 32 of 70

                                                                                                                            21
  Fill In this information to identify your case:


  Debtor           <mit^ friviU P hilMMO
                    First Name                   Middle Name           Last Name

 Debtor 2
 (Spouse If filing) First Name                   Middle Name           Last Name

  United States Bankruptcy Court for the: District of Northern Mariana Islands

  Case number
  (If known)                                                                                                                               □ Check if this is an
                                                                                                                                             amendeid filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/16


Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).



 1.   Do you have any executory contracts or unexpired leases?

      ^ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      u      Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property {Official Form 106A/B).


 2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
      example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
      unexpired leases.




      Person or company with whom you have the contract or lease                                 State what the contract or lease is for


2.1

      Name


      Number           Street


      City                               State        ZIP Code

2.2

      Name


      Number           Street


      City                               State        ZIP Code

2.3

      Name


      Number           Street


      City                               State        ZIP Code

2.4

      Name


      Number          Street


      City                               State        ZIP Code

2.5

      Name


      Number          Street


      City                               State        ZIP Code



Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of
                                  Case 1:21-bk-00002                       Document No. 1      Filed 07/23/21             Page 33 of 70
i


          Debtor 1
                         First Nnm^
                                                                                                     Case number (;Yknown).
                                       Middle Name             Last Name




                         Additional Page if You Have More Contracts or Leases


                Person or company with whom you have the contract or lease                        What the contract or lease is for

      r
          22\
                Name


                Number        Street


                City                                 State   ZIP Code
     r
     !2.
     L
                Name


                Number        Street


                City                                 State   ZIP Code


     |2._:
                Name


                Number        Street


                City                             State       ZIP Code


      2.
                Name


                Number       Street


                City                             State       ZIP Code


      2.
                Name


                Number       Street


                City                             State       ZIP Code


      2. ■

                Name


                Number       Street


                City                             State       ZIP Code

    :
    2.
       r
                Name


                Number       Street


                City                             State       ZIP Code


      2,
                Name


                Number       Street


                City                             State       ZIP Code




    Official Form 106G                                   Schedule G: Executory Contracts and Unexpired Leases                             page   of
4
                                Case 1:21-bk-00002                              Document No. 1                Filed 07/23/21         Page 34 of 70
                                                                                                                                             21                  00002
      Fill In this Information to identify your case:


      Debtor 1
                         Fir$t Nam«                       Middle Name                 Last Name

     Debtor 2
     (Spouse, ir tiling) First Name                       Middle Name                 Last Name


      United States Bankruptcy Court for the: District of Northern Mariana Islands

      Case number
      (If known)
                                                                                                                                                          □   Check if this is an

                                                                                                                                                              amen(je(d filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                                             12/15
    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
    are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
    and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
    case number (if known). Answer every question.


      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
           G No

           G Yes

      2.   Within the last 8 years, have you lived in a community property state or territory? {Community properly states and territories include
           Arizona, California, Idaho, Louisiana, Nevada. New Mexico. Puerto Rico, Texas. Washington, and Wisconsin,)

           G   No. Go to line 3.
           G   Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

               G No

               G    Yes. In which community state or territory did you live?                                     Fill in the name and current address of that person.




                      Name of your spouse, former spouse, or legal equivalent


                      Number            Street



                      City                                          State                         ZIP Code


     3.    In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
           shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
           Schedule D (Official Form 106D), Schedule £/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
           Schedule E/F, or Schedule G to fill out Column 2.


            Column 1: Your codebtor                                                                                    Column 2: The creditor to whom you owe the debt

                                                                                                                        Check all schedules that apply:
     3,1
             Name
                                                                                                                        □   Schedule D. line _
                                                                                                                        □   Schedule E/F, line
             Number            Street                                                                                   □   Schedule G, line _

             City                                                       State                      ZIP Code

    3.2
             Name
                                                                                                                        □   Schedule D, line _
                                                                                                                        □   Schedule E/F, line
             Number            Street                                                                                   □   Schedule G. line _

             City                                                       State                      ZIP Code

    3.3
             Name
                                                                                                                        □   Schedule D, line_

                                                                                                                        □ Schedule E/F, line
             Number            Street
                                                                                                                        □ Schedule G. line _

             City                                                       State                      ZIP Code



    Official Form 106H                                                            Schedule H: Your Codebtors                                                   page 1 of
                              Case 1:21-bk-00002               Document No. 1             Filed 07/23/21           Page 35 of 70
r


      Debtor 1                                                                                Case number (/rKnown).
                     Flr«t Name     Middle Name   Last Name



                     Additional Page to List More Codebtors

            Column 1: Your codebtor                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                    Check all schedules that apply:
      3.

            Name                                                                                     □ Schedule D, line _
                                                                                                     □ Schedule E/F, line
            Number         Street                                                                    □ Schedule G, line


            City                                       State                   ZIP Code
      3.

            Name                                                                                     □ Schedule D, line _
                                                                                                     □ Schedule E/F, line
            Number         Street                                                                    □ Schedule G, line


            City                                       State                   ZIP Code

      3.

            Name                                                                                     □ Schedule D, line _
                                                                                                    □ Schedule E/F, line
            Number         Street                                                                    □ Schedule G, line _


            City                                      State                    ZIP Code

      3..
            Name                                                                                    □ Schedule D, line _
                                                                                                    □ Schedule E/F, line
            Number         Street                                                                    □ Schedule G, line _


            City                                      State                    ZIP Code
      3.

            Name                                                                                    □ Schedule D, line _
                                                                                                    □ Schedule E/F, line
            Number         Street                                                                   □ Schedule G. line _


            City                                      State                    ZIP Code
      3.

            Name
                                                                                                    □ Schedule D. line _
                                                                                                    □ Schedule E/F. line
            Number         Street                                                                   □ Schedule G. line _


            City                                      State                    ZIP Code

      3

            Name
                                                                                                    □ Schedule D, line _
                                                                                                    □ Schedule E/F. line
            Number         Street                                                                   □ Schedule G, line _


            City                                      Slate                    ZIP Code



            Name
                                                                                                    □ Schedule D, line _
                                                                                                    □ Schedule E/F, line
            Number        Street                                                                    □ Schedule G, line _


            City                                      Slate                    ZIP Code




    Official Form 106H                                         Schedule H: Your Codebtors                                             page    of
    %,
                                     Case 1:21-bk-00002                 Document No. 1                  Filed 07/23/21               Page 36 of 70
«
                                                                                                                                             21             000 0 2
              Fill in this information to identify your case:
                                                                                        7
              Debtor 1
                              nmNarne
                                                       'P.
                                                        MiddI* Nam<               Lust Name

              Debtor 2
          (Spouse, If filing) First Name                Middle Name               La$l Name


              United States Bankruptcy Court for the: District of Northern Mariana Isiands

              Case number                                                                                               Check if this is:
              (If known)
                                                                                                                         □ An amentded filing
                                                                                                                         G A supplement showing postpetition chapter 13
                                                                                                                           income as of the following date:
         Official Form 1061                                                                                                   MM / DD/ YYYY

         Schedule I: Your Income                                                                                                                                      12/15

         Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
         supplying correct information. If you are married and not filing jointly, and your spouse Is living with you, include information about your spouse.
         If you are separated and your spouse is not filing with you, do not include Information about your spouse. If more space Is needed, attach a
         separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


              Part 1        Describe Employment


          1     Fill In your employment
                information.                                                            Debtor 1                                        Debtor 2 or non-filing spouse

                If you have more than one job,
                attach a separate page with
                information about additional         Employment status               ■tJ Employed                                       □ Employed
                employers.                                                           G Not employed                                     □ Not employed

                Include part-time, seasonal, or
                self-employed work.
                                                     Occupation
                Occupation may include student
                or homemaker, if it applies.
                                                     Employer’s name                ]>5inrt                            TT'nM
                                                     Employer’s address
                                                                                    Number    Street
                                                                                                             IxLfHiCT _
                                                                                                                   _    .             Niu mber   Street
                                                                                                            PPf      m

                                                                                                            nip
                                                                                    City               State       ZIP Code           City                State   ZIP Code

                                                     How long employed there?                 3
              Part 2:       Give Details About Monthly Income

                Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write SO in the space. Include your non-filing
                spouse unless you are separated.
                If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                below. If you need more space, attach a separate sheet to this form.

                                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                                      non-filing spouse
              2. List monthly gross wages, salary, and commissions (before all payroll
                 deductions). If not paid monthly, calculate what the monthly wage would be.           2.
                                                                                                                    mtri
              3. Estimate and list monthly overtime pay.                                               3,   + $_                     + $_
          4. Calculate gross income. Add line 2 + line 3.                                              4.      $


         Official Form 1061                                                   Schedule I: Your Income                                                             page 1
V.
                           Case 1:21-bk-00002                     Document No. 1          Filed 07/23/21                   Page 37 of 70


     Debtor 1
                    Fnt Name
                                    nuu P
                                  Mid(Rf Name         taat Nama
                                                                                                     Case number (If known).



                                                                                                 For Debtor 1                  For Debtor 2 or
                                                                                                                               non-filing spouse

         Copy line 4 here                                                                4.                          V
      5. List all payroll deductions:

          5a. Tax, Medicare, and Social Security deductions                              5a.     S                               S
          5b. Mandatory contributions for retirement plans                               5b.                  V                  S
          5c. Voluntary contributions for retirement plans                               5c.                                     s.
          5d. Required repayments of retirement fund loans                               5d,
          5e. Insurance                                                                  5e.
          5f. Domestic support obligations                                               5f.     S.                              $.
          5g. Union dues                                                                 59-                                     S.
          5h. Other deductions. Specify:                                                 5h.   + $_                        + S
       6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h. 6.         S.                              S

       7. Calculate total monthly take-home pay. Subtract line 6 from line 4.             7.     S.                              $.

      a. List all other income regularly received:
          8a. Net income from rental property and from operating a business,
              profession, or farm
              Attach a statement for each property and business showing gross
              receipts, ordinary and necessary business expenses, and the total                                                  S
              monthly net income.                                                        8a.     $.
          6b. Interest and dividends                                                     8b.     S.                              S.
          8c. Family support payments that you, a non-filing spouse, or a dependent
              regularly receive
              Include alimony, spousal support, child support, maintenance, divorce
              settlement, and property settlement.                                  8c.
                                                                                                               V
          8d. Unemployment compensation                                                  8d.
          8e. Social Security                                                            8e.
                                                                                                         IS
          8f. Other government assistance that you reguiarly receive
              include cash assistance and the value (if known) of any non-cash assistance
              that you receive, such as food stamps (benefits under the Supplemental
              Nutrition Assistance Program) or housing subsidies.
              Specify;                                                                  8f.      S.                              S.

          8g. Pension or retirement income                                               8g.                                     $
          8h. Other monthly Income. Specify;                                             8h. +$                                + $.
       9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.          9.      S.

      10. Calculate monthly income. Add line 7 + line 9.
          Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.     10.                           +         S                  S,

      11. state all other regular contributions to the expenses that you list In Schedule J.
          Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
          friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify;                                                                                                                             11,+ $.
     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                   12.
                                                                                                                                                    Combined
                                                                                                                                                    monthly income
      13. Do y^expect an increase or decrease within the year after you file this form?

     'G Yes, Explain:


     Official Form 1061                                              Schedule I: Your Income                                                             page 2
                              Case 1:21-bk-00002              Document No. 1                 Filed 07/23/21             Page 38 of 70

                                                                                                                       BK2 1                         oooos
    Fill in this information to Identify your case;

    Debtor 1          \   Jitim mi f
                       FInl Name              Middle Name               Last Name                       Check if this is:
   Debtor 2
   (Spouse, if Tiling) rirtl Name             Middle Name               Leal Name                           G An amended filing
                                                                                                            Q A supplement showing postpetition chapter 13
    United States Bankruptcy Court for the: District of Northern Mariana Islands
                                                                                                              expenses as of the following date:
    Case number                                                                                                MM / DD/ YYYY
    (If known)



  Official Form 106J
  Schedule J: Your Expenses                                                                                                                                12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this.a'joint case?

   ^J2no. Go to line 2.
    □ Yes. Does Debtor 2 live in a separate household?
                 □ No
                 □ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                 □ No
                                                                                     Dependent's relationship to               Dependent's      Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for   Debtor 1 or Debtor 2                      age              with you?
    Debtor 2.

    Do not state the dependents’
    names.
                                                each dependent
                                                                                     u             +
                                                                                                                                                G No
                                                                                                                                              ^^JG'Ves
                                                                                                                                 M              □
                                                                                                                                                G
                                                                                                                                                     No
                                                                                                                                                     Yes
                                                                                                                                                G    No
                                                                                                                                                □    Yes

                                                                                                                                                □    No
                                                                                                                                                □    Yes
                                                                                                                                                G    No
                                                                                                                                                G    Yes

 3. Do your expenses Include
    expenses of people other than
    yourself and your dependents?           G Yes

 Part 2:
            J Estimate Your Ongoing Monthly Expenses
  Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
  expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
  applicable date.
  Include expenses paid for with non-cash government assistance if you know the value of
  such assistance and have Included it on Schedule I: Your Income (Official Form 1061.)                                              Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
     any rent for the ground or lot.                                                                                    4.
                                                                                                                                 $
      If not included in line 4:
      4a.    Real estate taxes                                                                                          4a.      S.

      4b.    Property, homeowner’s, or renter's insurance                                                               4b.

      4c.    Home maintenance, repair, and upkeep expenses                                                              4c.      S.
      4d.    Homeowner’s association or condominium dues                                                                4d.      $.

Official Form 106J                                             Schedule J; Your Expenses                                                               page 1
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 Debtor 1        \JlUlePruii
                 Pint Name      Midd« Nama
                                             P-           '
                                                                                             Case number {iiknown)_




                                                                                                                              Your expenses


  5. Additional mortgage payments for your residence, such as home equity loans                                       5.

 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                            6a.    S

      6b.   Water, sewer, garbage collection                                                                          6b.    s.
      6c.   Telephone, cell phone. Internet, satellite, and cable services                                            6c.    S

      6d.   Other. Specify:                                                                                           6d.    S

 7. Food and housekeeping supplies                                                                                    7.     S.   'W'
 8. Childcare and children’s education costs                                                                          8.
                                                                                                                                          T
 9. Clothing, laundry, and dry cleaning                                                                               9.     S.
10. Personal care products and services                                                                               10.    s.
11. Medical and dental expenses                                                                                       11.    S.

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                             S.
      Do not include car payments.                                                                                    12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                              13.    S.
                                                                                                                                          7
14. Charitable contributions and religious donations                                                                  14.    S.

15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                             15a.   $.        K
      15b. Health insurance                                                                                           15b.

      15c. Vehicle insurance                                                                                          15c.

      i5d. Other insurance. Specify;.                                                                                 15d.


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                        16.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                                 17a.   S

      17b. Car payments for Vehicle 2                                                                                 17b.   S

      17c. Other. Specify:                                                                                            17c.   S.

      I7d. Other. Specify:                                                                                            17d.   S.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule I, Your Income (Official Form 1061).                                                  18-

19. Other payments you make to support others who do not live with you.

      Specify:                                                                                                         19.   S.

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                            20a.       S.

      20b. Real estate taxes                                                                                      20b.       S.

      20c. Property, homeowner's, or renter's insurance                                                           20c.       S.

      20d. Maintenance, repair, and upkeep expenses                                                               20d.       $.

      20e. Homeowner's association or condominium dues                                                            20e.



Official Form 106J                                           Schedule J: Your Expenses                                                        page 2
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 Debtor 1       cfliue
                 Fini N<m«     MI0d« N<m*        Last Naira
                                                                                              Case number [itknown\




21. Other. Specify;                                                                                                   21.   +$_


22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.

       22b. Copy line 22(monthly expenses for Debtor 2), if any, from Official Form 106J-2
                                                                                                                 22a.

                                                                                                                 22b.
                                                                                                                                  m-
       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.        S.



23. Calculate your monthly net Income.
      23a, Copy line 12 (your combined monthly income)from Scheduie I.                                           23a.

      23b. Copy your monthly expenses from line 22c above.                                                       23b.       -$    im
      23c. Subtract your monthly expenses from your monthly income.                                                               1
                                                                                                                 23c.
                                                                                                                              S
           The result is your monthly net income.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
               payment to increase or decrease because of a modification to the terms of your mortgage?



                   Explain here;




Official Form 106J                                            Schedule J: Your Expenses                                                page 3
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                                                                                                                            BK2 1                           00002
Fill in this Information to identify your case:

Debtor 1
                    Firii Name
                                                  F-
                                              Middk Name
                                                            e)imwj) Last Nama

Debtor 2
(Spouse, if tiling) Fl^ilName                 Middle Name           Last Name


United States Bankruptcy Court for the; District of Northern Mariana Islands
Case number
(If known)
                                                                                                                                                   □ Check if this is an
                                                                                                                                                       amendetd filing


  Official Form 106Dec
   Declaration About an Individual Debtor’s Schedules                                                                                                            12/15


  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.




                    Sign Below



       Old you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

             No
       Q Yes.         Name of person.                                                          Attach Bankruptcy Petition Preparer's Notice. Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     X                                                            X
         Signatui         Debtor 1                                     Signature of Debtor 2
                     \J

         Date                                                          Date
                        DD       /    YYYY                                      fvIM/ DO /   YYYY




  Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
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                                                                                                                mzi                           00002

  Fill In this information to identify your case:

  Debtor 1
                    Flnl Ntm«
                                 mu            F
                                            Middle Name               Last Name

 Debtor 2
 (Spouse, if filing) Pint Nam«              Middle Name               Last Name


  United States Bankruptcy Court for the: District of Northern Mariana islands
  Case number                                                                                                                      G Check if this is an
                    (If known)
                                                                                                                                        amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets


                                                                                                                                Your assets
                                                                                                                                Value of what you own
1. Schedule A/B: Property (Off\da\ Form 106A/B)
   ia. Copy line 55, Total real estate, from Schedule A/B                                                                           S


    lb. Copy line 62. Total personal property, from Schedule A/S


    ic. Copy line 63, Total of all properly on Schedule /VB
                                                                                                                                   S


Part 2:       Summarize Your Liabiiities



                                                                                                                                Your liabilities
                                                                                                                                Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property {Official Form 106D)
   2a Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D               $

3, Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
   3a. Copy the total claims from Part 1 (priority unsecured claims)from line 6e of Schedule E/F.
                                                                                                                                          '0
   3b. Copy the total claims from Part 2 {nonpriority unsecured claims) from line 6j of Schedule E/F
                                                                                                                                + $           /

                                                                                                       Your total liabilities      $

Part 3:       Summarize Your income and Expenses


4. Schedule I: Your Income (Official Form 1061)
   Copy your combined monthly income from line 12 of Schedule I

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J                                                                          S      I

Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical information                     page 1 of 2
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    Debtor 1                                                                                          Case number {in>nown\
                     First Nams     Middle Name        Last Name




    Part 4:
           1       Answer These Questions for Administrative and Statistical Records

    6. Are you filing for bankruptcy under Chapters 7,11, or 13?

                  - You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.



    7. What kind of debt do you have?

      ,-0'"Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
          family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        □ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
               this form to the court with your other schedules.



    8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




    9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                              Total claim


         From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)


       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                              s.

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                    $.

       9d, Student loans. (Copy line 6f.)                                                                     2.


       9e. Obligations arising out of a separation agreement or divorce that you did not report as            s
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              + $_
                                                                                                                   7
       9g. Total. Add lines 9a through 9f.                                                                             5 Cl




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2
                               Case 1:21-bk-00002                    Document No. 1                 Filed 07/23/21           Page 44 of 70

                                                                                                                             BK21                       oooeg
    Fill In this infonnation to identify your case:


    Debtor 1
                         f«it Ntm«                    Middle N«me             Lait Name

    Debtor 2
    (Spouse, if filing) FimNims                       Middle Name             Last Name


    United States Bankruptcy Court for the; District of Northern Mariana Islands

    Case number
    (If known)                                                                                                                              □ Check if this is an
                                                                                                                                               amended filing




  Official Form 107
  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
  number (if known). Answer every question.



    Parti
             I     Give Details About Your Marital Status and Where You Lived Before



    1. What is your current marital status?


             Married
         Q Not married



    2. Durlrii          le last 3 years, have you lived anywhere other than where you live now?

             No

        Q Yes. List all of the places you lived In the last 3 years. Do not include v/here you live now.


               Debtor 1;                                                Dates Debtor 1    Debtor 2;                                             Dates Debtor 2
                                                                        lived there                                                             lived there


                                                                                          Q Same as Debtor 1                                   Q Same as Debtor 1


                                              T
                                                                       From                                                                        From
                 Number              Street                                                  Number    Street
                                                                       To                                                                          To




                 City                             State   ZIP Code                           City                      State   ZIP Code


                                                                                          Q Same as Debtor 1                                   □   Same as Debtor 1


                                                                       From                                                                        From
                 Number          Street                                                      Number    Street
                                                                       To                                                                          To




                 City                             State   Zip Code                           City                     State      ZIP Code



   3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? {Community property
        state&and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin,)

            No

        G Yes. Make sure you fill out Scheduie H: Your Codebtors (Official Form 106H).




   Part 2i        Explain the Sources of Your Income

Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                           page 1
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Debtor 1                                                                                                   Case number (rfnno»n}_
                fint Nam«       MiddTa Name           La«t Nam«




  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fiil in the totai amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1,

       □ Nj
           Yes, Fill in the details,

                                                             Debtor 1                                                Debtor 2

                                                            Sources of income              Gross income              Sources of income             Gross income
                                                            Check all that apply.          (before deductions and    Check all that apply.         (before deductions and
                                                                                           exclusions)                                             exclusions)

            From January 1 of current year until            J3^ages , commissions                                    □ Wages, commissions,        S
                                                                  bonuses, tips                                        bonuses, tips
            the date you filed for bankruptcy:
                                                             □ Operating a business                                  □ Operating a business
            For last calendar year:
                                                             □ Wages, commissions,                                   □ Wages, commissions,
                                                                  bonuses, tips            S                           bonuses, tips
            (January 1 to December 31         mi
                                              YYYY
                                                             Q Operating a business                                  □ Operating a business
            For the calendar year before that:               Q Wages, commissions,                                   □ Wages, commissions,
                                                               bonuses, tips                                           bonuses, tips
            (January 1 to December 31
                                              YYYY
                                                             Q Operating a business
                                                                                           S
                                                                                                                     □ Operating a business       $.


  5.   Did you receive any other Income during this year or the two previous calendar years?
       Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
       unemployment, and other public benefit payments; pensions; rental income: interest; dividends; money collected from lawsuits; royalties; and
       gambling and lottery winnings, if you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       □ Yes. Fill in the details.

                                                            Debtor 1                                                  Debtor 2

                                                            Sources of income              Gross income from          Sources of Income           Gross income from
                                                            Describe below.                each source                Describe below.             each source
                                                                                           (before deductions and                                 (before deductions and
                                                                                           exclusions)                                            exclusions)



            From January 1 of current year until                                      $
            the date you filed for bankruptcy:
                                                                                                                                              S.



            For last calendar year:                                                                                                           $.
            (January 1 to December 31                                                 $.                                                      S.
                                              YYYY
                                                                                      $.                                                      s.

            For the calendar year before that:                                        $                                                       $
            (January 1 to December 31,
                                              YYYY
                                                                                      s.                                                      s




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1                                                                                                 Case number (ifknown).
               FHt Name           MiddFe Name                Last Name




  Part 3:
           1   List Certain Payments You Made Before You Filed for Bankruptcy



  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     G No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer de£ifs are defined in 11 U.S.C. § 101(8) as
           ■'incurred by an individual primarily for a personal, family, or household purpose,”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

               G No. Go to line 7.

               G    Yes. List below each creditor to whom you paid a total of $6,225’ or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case,
               * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

     G     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                            Go to line 7.

               G    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                             Dates of     Total amount paid            Amount you still owe   Was this payment for...
                                                                             payment


                                                                                          S.                       S.                         G   Mortgage
                     Creditor's Name
                                                                                                                                              G Car

                     Number       Street                                                                                                      G Credit card

                                                                                                                                              G Loan repayment

                                                                                                                                              G   Suppliers or vendors

                     City                       State            ZIP Code                                                                     G Other




                                                                                          S                        s                          G   Mortgage
                     Creditor's Name
                                                                                                                                              G Car

                     Number      Street                                                                                                       G   Credit card

                                                                                                                                              G   Loan repayment

                                                                                                                                              G   Suppliers or vendors

                                                State            ZIP Code                                                                     G Other
                     City




                                                                                          $                                                   G   Mortgage
                     Creditors Name
                                                                                                                                              G Car

                     Number      Street                                                                                                       G   Credit card

                                                                                                                                              G   Loan repayment

                                                                                                                                              G   Suppliers or vendors

                                                State           ZIP Code                                                                      G Other
                     City




Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 3
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Debtor 1
                   FirtlName      Middle Name
                                                        f-   Lett Name
                                                                                                        Case number {ifJiroivn).




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners: relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities: and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C, §101, Include payments for domestic support obligations,
     such as child support and alimony.

           No
     G Yes. List all payments to an insider.
                                                                             Dates of    Total amount      Amount you still        Reason for this payment
                                                                             payment     paid              owe


                                                                                                         $
            Insider's Name



            Number       Street




            City                                State    ZIP Code




            Insider’s Name


            Number       Street




            City                                State    ZIP Code



 8, Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
     □ Yes. List all payments that benefited an insider.
                                                                            Dates of     Total amount      Amount you stiii        Reason for this payment
                                                                            payment      paid              owe
                                                                                                                                   Include creditor's name


            Insider’s Name
                                                                                        S.               S.


            Number      Street




           City                                 State    ZIP Code



                                                                                        s.               5.
           Insiders Name



           Number       Street




           City                                 State    ZIP Code



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
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Debtor 1        \J       w
                Plrtl Name            Middle Name
                                                            f- hirntm
                                                              Last Name
                                                                                                                 Case number (irKnown).




   Part 4:
           I   Identify Legal Actions, Repossessions, and Foreclosures
  9. Within 1 year before you filed for bankruptcy, were you a party In any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, smail ciaims actions, divorces, coiiection suits, paternity actions, support or custody modifications,
     and contract disputes.
     □
           Yes. Fill in the details.
                                                                       Nature of the case                   Court or agency                                 Status of the case



            Case title                                                                                    Court Name
                                                                                                                                                            □   Pending

                                                                                                                                                            □   On appeal

                                                                                                          Number     Street                                 □   Concluded

            Case number
                                                                                                          City                    State     ZIP Code




            Case title                                                                                    Court Name
                                                                                                                                                            □   Pending

                                                                                                                                                            □   On appeal

                                                                                                          Number    Street                                  □   Concluded

            Case number
                                                                                                          City                    Slate    ZIP Code


  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.


     G Yes. Fill in the information below.

                                                                                 Describe the property                                       Date      Value of the property




                 Creditor’s Name                                                                                                                       $.

                 Number      Street                                             Explain what happened

                                                                                 G Property was repossessed.
                                                                                 G Property was foreclosed.
                                                                                G Property was garnished.
                City                                State   ZIP Code            G    Property was attached, seized, or levied.
                                                                                Describe the property                                        Date       Value of the property




                Creditor’s Name



                Number       Street
                                                                                Explain what happened


                                                                                □    Property was repossessed.
                                                                                G    Property was foreclosed.

                City                                Slats   ZIP Code
                                                                                G    Property was garnished.
                                                                                G    Property was attached, seized, or levied.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1            '0U(% hju
                  Frst Name       Middle Name
                                                                t
                                                             Lett Name
                                                                                                             Case number (//known).




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
             ts or refuse to make a payment because you owed a debt?


     □ Yes. Fill in the details.

                                                                     Describe the action the creditor took                             Date action      Amount
                                                                                                                                       was taken
           Creditors Name



           Number     Street




           City                           State   ZIP Code           Last 4 digits of account number: XXXX-


  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
      creditors-, a court-appointed receiver, a custodian, or another official?
           No
     □ Yes

  Part 5:
            1     List Certain Gifts and Contributions


  13. Within 2      lars before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
             lo
     □ Yes. Fill in the details for each gift.
             Gifts with a total value of more than $600              Describe the gifts                                                Dates you gave         Value
             per person                                                                                                                the gifts




           Person to Whom You Gave the Gift
                                                                                                                                                         S.

                                                                                                                                                         $.

           Number    Street



           City                           Stale   ZIP Code


           Person’s relationship to you



           Gifts with a total value of more than $600               Describe the gifts                                                 Dates you gave    Value
           per person                                                                                                                  the gifts




           Person to Whom You Gave the Gift
                                                                                                                                                         $.

                                                                                                                                                         s.

           Number    Street



           City                           State   ZIP Code


           Person’s relationship to you



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          pages
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Debtor 1           <nuie i\iiu hmem)
                    FttX Name      Middle Name               Lett Name
                                                                                                                 Case number {iiknown\




  14. Within^ears before you filed for bankruptcy, did you give any gifts or contributions with a total vaiue of more than $600 to any charity?

           No
      □ Yes. Fili in the detaiis for each gift or contribution.

             Gifts or contributions to charities                    Describe what you contributed                                         Date you          Value
             thattotai more than $600                                                                                                     contributed




           Chanty’s Name




           NumOer       Street



           City           Slate        ZIP Code




  Part 6:
            I       List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disas^, or gambling?

           No
     □ Yes. Fill in the details.


            Describe the property you lost and                      Describe any Insurance coverage for the loss                          Date ofyour       Value of property
            how the loss occurred                                                                                                         loss              lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.




  Part 7:
           1       List Certain Payments or Transfers

  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.


     □ Yes. Fill in the details.

                                                                    Description and value of any property transferred                     Date payment or   Amount of payment
                                                                                                                                          transfer was
            Person Who Was Paid                                                                                                           made

                                                                                                                                                                                1
            Number       Street
                                                                                                                                                            s.

                                                                                                                                                            s
            City                         State    ZIP Code


            Email or website address

            Person Who Made the Payment, if Not Vou


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
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Debtor 1          JlUOUi ^
                  Fatl Name       MIdda Name              LM^Name
                                                                                                          Case number (iftmowni




                                                                Description and value of any property transferred                  Date payment or      Amount of
                                                                                                                                   transfer was made    payment


           Person Who Was Paid
                                                                                                                                                       S.
           Number       Street

                                                                                                                                                       s

           City                       Slate    ZIP Code




           Email or website address



           Person Who Made the Payment, it Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.


     □ Yes. Fill in the details.
                                                                Description and value of any property transferred                  Date payment or     Amount of payment
                                                                                                                                   transfer was
                                                                                                                                   made
            Person Who Was Paid


            Number      Street


                                                                                                                                                       $.
           City                       State    ZIP Code

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
      Do no^clude gifts and transfers that you have already listed on this statement.
          No
      Q Yes. Fill in the details.

                                                                Description and value of property        Describe any property or payments received         Date transfer
                                                                transferred                              or debts paid in exchange                          was made

           Person Who Received Transfer


           Number      Street




           City                       State    ZIP Code


           Person's relationship to you



           Person Who Received Transfer


           Number      Street




           City                       State    ZIP Code

           Person's relationship to you

Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 8
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Debtor 1
                     c
                                                                                                               Case number (;/*no»n).
                                   Middle Nenie              Lest Name




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
      are a beneficiary? (These are often called asset-protection devices.)

           No
     □ Yes, Fill in the details.


                                                                     Description and value of the property transferred                                          Date transfer
                                                                                                                                                                was made


           Name of trust




  Part 8:^ List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
                                                                                                                                                                                      i
  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
      closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerai  houses, pension funds, cooperatives, associations, and other financial institutions.
            lo
     Q Yes. Fill in the details.

                                                                     Last 4 digits of account number     Type of account or         Date account was       Last balance before
                                                                                                         instrument                 closed, sold, moved,   closing or transfer
                                                                                                                                    or transferred

            Name of Financial Institution
                                                                     xxxx-                               □ Checking                                        s.
            Number       Street                                                                          □ Savings
                                                                                                         □   Money market

                                                                                                         □   Brokerage
            City                       State      ZIP Code
                                                                                                         □ Other


                                                                     xxxx-                               Q Checking                                                               I
            Name of Financial Institution
                                                                                                         a Savings
            Number       Street                                                                          □   Money market
                                                                                                                                                                                  I
                                                                                                         Q Brokerage

                                                                                                         □ Other
            City                       State      ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     secunties, cash, or other valuables?
        No
     G Yes. Fill in the details.
                                                                     Who else had access to it?                      Describe the contents                         Do you still
                                                                                                                                                                   have it?

                                                                                                                                                                   □ No
           Name of Financial Institution                            Name
                                                                                                                                                                   □ Yes

           Number        Street                                    Number    Street



                                                                   City        Stale     ZIP Code

           City                        State      ZIP Code



Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          pages
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    Debtor 1
                          \                                        V                                                       Case number   known).
                        Foil Name      Middle Name                Leal Name




    22.Ma^@^ou          Stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ^No
     □ Yes. Fill in the details.
                                                                         Who else has or had access to It?                      Describe the contents                 Do you still
                                                                                                                                                                      have It?

                                                                                                                                                                       □ No
                 Name of Storage Facility                                Name
                                                                                                                                                                       □ Yes
                 Number       Street                                     Number     Street


                                                                         CityState ZIP Code

                 City                       State      ZIP Code


     Part 9i              Identify Property You Hold or Control for Someone Else

     23. Do youj^ld or control any property that someone else owns? Include any property you borrowed from, are storing for,
         or Id in trust for someone.
            No
         Q Yes. Fill in the details.
                                                                        Where is the property?                                 Describe the property            Value



                 Owner's Name
                                                                                                                                                                $.
                                                                       Number     Street
                 Number       Street
I



                                                                       City                           State     ZIP Code
                 City                       State     ZIP Code


     Part lOi
             J Give Details About Environmental Information
     For the purpose of Part 10, the following definitions apply:
     ■ Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
        hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
        including statutes or regulations controlling the cleanup of these substances, wastes, or material.
        Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
        utilize it or used to own, operate, or utilize it, including disposal sites.
        Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
        substance, hazardous material, pollutant, contaminant, orsimilarterm.

     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

     24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

          No
        Q Yes. Fill in the details.
                                                                        Governmental unit                           Environmental law, if you know It          Date of notice




               Name of site                                            Governmental unit


               Number      Street                                      Number     Street


                                                                       city                  State   ZIP Code



               city                      Stale       ZIP Code



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 10
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Debtor 1           ^1UufMil p-
                   Fv5t Name      Middle Name              Latt Name
                                                                                                                      Case number (if known).




  2S. Have you notified any governmental unit of any release of hazardous material?
       No
     G Yes. Fill III the details.
                                                                 Governmental unit                                Environmental law, If you know it                    Date of notice




            Name of site                                         Governmental unit


            Number       Street                                  Number     Street



                                                                City                   State    ZIP Code


            City                      State     ZIP Code


  26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     G Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                   Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title.
                                                                   Court Name                                                                                          G   Pending

                                                                                                                                                                       G   On appeal
                                                                   Number     Street                                                                                   G   Concluded


           Case number
                                                                   City                        State   ZIP Code



 Part 11:
            Jj Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        G A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
        G A member of a limited liability company (LLC)or limited liability partnership (LLP)
        G A partner in a partnership
        G An officer, director, or managing executive of a corporation
           G   An owner of at least 5% of the voting or equity securities of a corporation

     G     No. None of the above applies. Go to Part 12.
     G Yes. Check all that apply above and fill in the details below for each business.
                                                                   Describe the nature of the business                                Employer Identification number

            Business Name                                                                                                             Do not include Social Security number or ITIN.


                                                                                                                                      EIN:
            Number       Street
                                                                   Name of accountant or bookkeeper                                   Dates business existed


                                                                                                                                      From               To
            city                      State     ZfP Code
                                                                   Describe the nature of the business                                Employer Identification number

            Business Name                                                                                                             Do not include Social Security number or ITIN.


                                                                                                                                      EIN:
            Number       Street
                                                                  Name of accountant or bookkeeper                                    Dates business existed



                                                                                                                                      From               To
            City                      State     ZIP Code


Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 11
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 Debtor 1           4u{^ mu
                    First Name   Middle Name
                                                           p
                                                          Last Name
                                                                                                            Case number ('tknowni




                                                                  Describe the nature of the business                      Employer Identification number
                                                                                                                           Do not Include Social Security number or ITIN.
             Business Name
                                                                                                                           EIN:

             Number Street
                                                                  Name of accountant or bookkeeper                         Dates business existed



                                                                                                                           From               To
             City                     State    ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

            No
      Q Yes. Fill in the details below.

                                                                  Date issued

                                                                                                                                                                                I

             Name                                                 MM/DDIYYYY
                                                                                                                                                                            I


            Number Street




            City                     State     ZIP Code                                                                                                                     I




                                                                                                                                                                            !
 Part 12:
            1       Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I deciare under penalty of perjury that the
       answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341,1519, and 3571.


                                                                                                                                                                            I
                                                                                X
            SignatLrepf Debtor 1                                                    Signature of Debtor 2


            Date                                                                    Date
       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy {Off\c\a\ Form 107)?

       □ No
       G Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       □ No
       G Yes. Name of person                                                                                       Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                                   Declaration, and Signature (Official Form 119).




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
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                                                                                                              BK2 1                      00 0 0
  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  District of Northern Mariana Islands


i Case number {ifknowny.




Official Form 121
Statement About Your Social Security Numbers                                                                                                      12/15

Use this form to tell the court about any Social Security or federal Individual Taxpayer Identification numbers you have used. Do not file this
form as part of the public case file. This form must be submitted separateiy and must not be included in the court’s public electronic records.
Please consult local court procedures for submission requirements.

To protect your privacy, the court will not make this form available to the public. You should not Include a full Social Security Number or
Individual Taxpayer Number on any other document filed with the court. The court will make only the last four digits of your numbers known
to the public. However, the full numbers will be available to your creditors, the U.S. Trustee or bankruptcy administrator, and the trustee
assigned to your case.

Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in
fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,1519, and 3571.


  Part 1
         I   Tell the Court About Yourself and Your spouse if Your Spouse is Filing With You

                                For Debtor 1:                                                For Debtor 2(Only If Spouse Is Filing):


 1. Your name
                                First                                                        First name

                                Midd                                                         Middle name

                                Last name                                                    Last name


 Part 2:
        1    Tell the Court About all of Your Social Security or Federal Individual Taxpayer Identification Numbers


 2. All Social Security
    Numbers you have            ^!d(i 2>k kill
    used



                                 □ You do not have a Social Security number.                  □ You do not have a Social Security number.
 3. All federal Individual
     Taxpayer
                                 9                                                           9
     Identification
     Numbers (ITIN) you          9                                                           9
     have used

                                 □ You do not have an ITIN.                                  □ You do not have an ITIN.
 Part 3;
         1   Sign Below


                                 Under penally of perjury, I declare that the information    Under penalty of perjury. I declare that the information
                                 I have provided in this form is true and correct.           I have provided in this form is true and correct.


                                X                                                            X
                                     Signature of/ofebtor 1                                      Signature of Debtor 2

                                     Date   in
                                            MM / DD /V*YYY
                                                                                                 Date
                                                                                                        MM / DD /YYYY

Official Form 121                                      Statement About Your Social Security Numbers
                                   Case 1:21-bk-00002              Document No. 1                   Filed 07/23/21             Page 57 of 70
«
                                                                                                                        BK2 1                           000 0 2
      Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                              Form 122A*1Supp:
      Debtor 1
                            Flr»t N»m»              Middle Name             Last Name

      Debtor 2
                                                                                                              □ 1 . There is no presumption of abuse.
      (Spouse, if filing)   First Name              Middle Name            Last Name
                                                                                                              □ 2. The caicuialion to determine if a presumption of
                                                                                                                     abuse appiies wil be made under Chapter 7
      United States Bankruptcy Court for the: District Of Northern Mariana Islands
                                                                                                                     Means Test Calculation (Official Form 122A-2).
      Case number
      (If known)
                                                                                                              □ 3. The Means Test does not appiy now because of
                                                                                                                     qualified miiitary service but it could apply later.



                                                                                                              □ Check if this is an amended filing
    Official Form 122A—1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                 04/20

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
    space is needed, attach a separate sheet to this form. Include the line number to which the additional Information applies. On the top of any
    additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
    do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
    Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

        Part 1:             Calculate Your Current Monthly Income

        1. What is your marital and filing status? Check one only,
             □ Not married. Fill out Column A, lines 2-11.
             Q Married and your spouse Is filing with you. Fill out both Columns A and B, lines 2-11.

           ^,J3’^arried and your spouse is NOT filing with you. You and your spouse are:

                   Q        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

                --Q''"1jving separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B, By checking this box, you declare
                      under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                      spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

            Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
            bankruptcy case, 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
            August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
            Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
            income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A              Column B
                                                                                                               Debtor 1              Debtor 2 or
                                                                                                                                     non-filing spouse
       2. Your gross wages, salary, tips, bonuses, overtime, and commissions
          (before all payroll deductions).
       3. Alimony and maintenance payments. Do not include payments from a spouse if
          Column B is filled in.

       4. All amounts from any source which are regularly paid for household expenses
          of you or your dependents. Including child support. Include regular contributions
          from an unmarried partner, members of your household, your dependents, parents,
          and roommates. Include regular contributions from a spouse only if Column B is not
          filled in. Do not include payments you listed on line 3.                                              $      ^
       5. Net Income from operating a business, profession,
          or farm                                                          Debtor 1      Debtor 2

            Gross receipts (before all deductions)
            Ordinary and necessary operating expenses                                   - $.
                                                                                                     Co py
            Net monthly income from a business, profession, or farm         j             $.         here^      S.                    s.
      6. Net income from rental and other real property                   Debtor 1       Debtor 2
         Gross receipts (before all deductions)                            $.             $.
            Ordinary and necessary operating expenses                     -$            - $.
                                                                                                     Co py
            Net monthly income from rental or other real property           S             $.         here“T    *.                     $.
      7.    Interest, dividends, and royalties                                                                 S                      $


    Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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 Debtor 1                                                                                       Case number orAnown).
                  Firtt N«m«    MI4d< Name         Latl Name



                                                                                                    Column A             Column B
                                                                                                    Debtor 1             Debtor 2 or
                                                                                                                         non-filing spouse
     8. Unemployment compensation
         Do not enter the amount if you contend that the amount received was a benefit
         under the Sociai Security Act. Instead, list it here:             4^
             For you
            For your spouse
     9. Pension or retirement income. Do not include any amount received that was a
         benefit under the Social Security Act. Also, except as stated in the next sentence, do
         not include any compensation, pension, pay, annuity, or allowance paid by the
         United States Government in connection with a disability, combat-related injury or
         disability, or death of a member of the uniformed services. If you received any retired
         pay paid under chapter 61 of title 10, then include that pay only to the extent that it
         does not exceed the amount of retired pay to which you would otherwise be entitled if
         retired under any provision of title 10 other than chapter 61 of that title.                                      S.
     10, Income from all other sources not listed above. Specify the source and amount. Do
         not include any benefits received under the Social Security Act; payments made under
         the Federal law relating to the national emergency declared by the President under the
         National Emergencies Act(50 U.S.C. 1601 et seq.) with respect to the coronavirus
         disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
         against humanity, or international or domestic terrorism; or compensation, pension,
         pay, annuity, or allowance paid by the United States Government in connection with a
         disability, combat-related injury or disability, or death of a member of the uniformed
         services. If necessary, list other sources on a separate page and put the total below.
                                                                                                     S


            Total amounts from separate pages, if any.                                             + S.   'SI           +$
                                                                                                          T
     11. Calculate your total current monthly income. Add lines 2 through 10 for each
         column. Then add the total for Column A to the total for Column B.
                                                                                                                   ?.      S.
                                                                                                                                                                     1

                                                                                                                                                    Total current
                                                                                                                                                    monthly Income
     Part 2:
              1   Determine Whether the Means Test Applies to You

 ! 12. Calculate your current monthly income for the year. Follow these steps:
 !      12a. Copy your total current monthly income from line 11                                                    Copy line 11 here"^

                Multiply by 12 (the number of months in a year).                                                                                X 12
        12b. The result is your annual income for this part of the form.                                                            12fa.   I   $
                                                                                                                                                    iSMJ?
     13. Calculate the median family income that applies to you. Follow these steps:

        Fill in the state in which you live.
                                                                      Mi
        Fill in the number of people in your household.                    1
        Fill in the median family income for your state and size of household                                                       13.         S
        To find a list of applicable median income amounts, go online using the link specified in the separate
        instructions for this form. This list may also be available at the bankruptcy clerk’s office.


     14. How do the lines compare?


        14a. □ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
               Go to Part 3. Do NOT fill out or file Official Form 122A-2



        14b. □ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
               Go to Part 3 and fill out Form 122A-2.



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                   page 2
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 Debtor 1                                                                                           Case number (//(cnwn)_
              First Name       Midde Name          Lait Name



    PartSi
            1   Sign Below

                By Signing here, I declare under penalty of perjury that the Information on this statement and in any attachments is true and correct.

                X                                                                              X
                   Signature of ^e^or 1                                                            Signature of Debtor 2

                   Date                                                                            Date
                           MM / DD    / YYYY                                                              MM/DD /YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2,
                   If you checked line 14b. fill out Form 122A-2 and file it with this form.




Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                               pages
                             Case 1:21-bk-00002                     Document No. 1                 Filed 07/23/21             Page 60 of 70
                                                                                                                                    21                00002
     Fill in this Information to identify your case:                                                                      Check the appropriate box as directed in
                                                                                                                          lines 40 or 42:

     Debtor 1
                       Firtt Name                  Middle Name                 Last Name
                                                                                                                          According to the calculations required by
                                                                                                                          this Statement:
     Debtor 2
     (Spouse, it filing} FiWName                   Middfa Name                 Last Name
                                                                                                                          D 1. There is no presumption of abuse.

     United Stales Bankruptcy Court for the: District of Northern Mariana Islands                                         CD 2. There is a presumption of abuse.
     Case number
     (If known)
                                                                                                                          □   Check if this is an amendetd filing




 Official Form 122A-2
 Chapter 7 Means Test Calculation                                                                                                                                12/15

 To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
 is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
 pages, write your name and case number (if known).



 Part 1:          Determine Your Adjusted Income

                                                                                                                                                                         i ,

 1. Copy your total current monthly income.                                                     Copy line 11 from Official Form 122A-1 here*^


 2. Did you fill out Column B in Part 1 of Form 122A-1 ?

      .12^- Fill in SO for the total on line 3.
       n Yes. Is your spouse filing with you?
                                                                                                                                                                         I
                      Go to line 3,

           n Yes. Fill in $0 for the total on line 3.


3.     Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
       household expenses of you or your dependents. Follow these steps;

       On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT
       regularly used for the household expenses of you or your dependents?

      ■tU No. Fill in 0 for the total on line 3.

      n Yes. Fill in the information below:


                State each purpose for which the income was used                              Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support   are subtracting from
                people other than you or your dependents                                      your spouse's income




             Total.
                                                                                                                       Copy total here



4.    Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                     S




Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                       page 1
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 Debtor 1                                                                                        Case number orknoMV)),
                Firvi Name         Nam«           Last Name



 Part 2i      Calculate Your Deductions from Your Income


   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
   answer the questions In lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
   this form. This information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
   actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's income in line 3
   and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

   If your expenses differ from month to month, enter the average expense.

   Whenever this part of the form refers to you. it means both you and your spouse if Column B of Form 122A-1 is filled in.



    5. The number of people used in determining your deductions from income
        Fill in the number of people who could be claimed as exemptions on your federal income fax return,
        plus the number of any additional dependents whom you support. This number may be different from
        the number of people in your household.


    National Standards          You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are
      under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this iRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a. Out-of-pocket health care allowance per person
                                                                    S


       7b, Number of people who are under 65
                                                                    X

       7c. Subtotal. Multiply line 7a by line 7b.                  $                 Copy here^




        People who are 65 years of age or older


       7d. Out-of-pocket health care allowance per person
                                                                   $
       7e. Number of people who are 65 or older                    X    a
       7f.   Subtotal. Multiply line 7d by line 7e.                $ ^               Copy here^
                                                                                                     + s_     k
       7g. Total. Add lines 7c and 7f.                                                                  S                 Copy total hare*^
                                                                                                                                              $.
                                                                                                                                                       I



Official Form 122A-2                                          Chapter 7 Means Test Calculation                                                page 2
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Debtor 1         <nviir hM
               Fini Nim*     Midd« N0m«
                                                      V-
                                                  L«6t Name
                                                                                                  Case number (rr(mown).




    Local Standards         You must use the IRS Local Standards to answer the questions In lines 8-15.

    Based on Information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
    ■ Housing and utilities ~ Insurance and operating expenses
    ■ Housing and utilities - Mortgage or rent expenses

    To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
    To find the chart, go online using the link specified in the separate instructions for this form.
    This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities -- Insurance and operating expenses; Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses

   9. Housing and utilities - Mortgage or rent expenses;

        9a. Using the number of people you entered in line 5, fill in the dollar amount listed
           for your county for mortgage or rent expenses                                                            $

       9b. Total average monthly payment for all mortgages and other debts secured by your home.


           To calculate the total average monthly payment, add all amounts that are
           contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.

             Name of the creditor                                              Average monthly
                                                                               payment



                                                                               S


                                                                           +$
                                                                                                        Copy                    Repeat this
                                    Total average monthly payment                                                               amount on
                                                                                                        here"^
                                                                                                                                line 33a.


       9c. Net mortgage or rent expense.
            Subtract line 9b (fofa/average monthly payment) from line 9a (mortgage or                                           Copy      5
            rent expense). If this amount is less than $0, enter $0                                                             here*^



   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects
       the calculation of your monthly expenses,fill in any additional amount you claim.
       Explain
       why:



   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
      CU 0. Go to line 14.
      CH 1. Go to line 12-
       □ 2 or more. Go to line 12.



   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.




Official Form 122A-2                                          Chapter 7 Means Test Calculation                                                page 3
                           Case 1:21-bk-00002                       Document No. 1            Filed 07/23/21              Page 63 of 70


 Debtor 1
                  \
                                                                                                      Case number tifknowni
                  FirstI Nam«          Middle Name      Latt Name



    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
        for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
        In addition, you may not claim the expense for more than two vehicles.


            Vehicle 1           Dascribe Vehicle 1;




        13a. Ownership or leasing costs using IRS Local Standard

        13b. Average monthly payment for all debts secured by Vehicle 1.
             Do not include costs for leased vehicles.

                 To calculate the average monthly payment here and on line 13e, add all
                 amounts that are contractually due to each secured creditor in the 60 months
                 after you filed for bankruptcy. Then divide by 60.

                        Name of each creditor for Vehicle 1                 Average monthly
                                                                            payment

                                                                              S.


                                                                           + $.
                                                                                                 Copy                             Repeat this
                                        Total average monthly payment                                                             amount on
                                                                                                 here"^
                                                                                                                                  line 33b.

                                                                                                                                 Copy net
        13c. Net Vehicle 1 ownership or lease expense                                                                            Vehicle 1
             Subtract line 13b from line 13a. If this amount is less than $0. enter SO.                            S.            expense
                                                                                                                                 here ^



        Vehicle 2               Describe Vehicle 2:




        13d. Ownership or leasing costs using IRS Local Standard.
                                                                                                                   S.
        13e. Average monthly payment for all debts secured by Vehicle 2.
             Do not include costs for leased vehicles.

                      Name of each creditor for Vehicle 2                   Average monthly
                                                                            payment




                                                                           + $_
                                                                                                  Copy                            Repeat this
                                        Total average monthly payment                                                             amount on
                                                                                                  here^                           line 33c.

                                                                                                                                 Copy net
        I3f. Net Vehicle 2 ownership or lease expense                                                                            Vehicle 2
             Subtract line 13e from 13d. If this amount is less than SO. enter $0.                                S.             expense
                                                                                                                                 here...^       S


   14. Public transportation expense; If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.


Official Form122A-2                                                 Chapter? Means Test Calculation                                             page 4
                      Case 1:21-bk-00002                        Document No. 1            Filed 07/23/21                     Page 64 of 70


Debtor 1       411U#
              Frnt Name     Middle Name             Laet Name
                                                                                                   Case number (irfcnovw).




    other Necessary Expenses              In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.

   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes. Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job. such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents,for a non-filing spouse’s life insurance, or for any form of life insurance other than term.


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
       ■ as a condition for your job, or
       ■ for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                 S


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25,                                                S.


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it        +
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.
       Add lines 6 through 23.




Official Form 122A-2                                            Chapter 7 Means Test Calculation                                                 page 5
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Debtor 1         xTllti^ (UiU
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                                                                                                    Case number (/rfmown).




    Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                 Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.
           Health insurance                                            S.
           Disability insurance                                        S

           Health savings account                                  + $_
       Total                                                           $.                             Copy total here^                   $

       Do you actually spend this total amount?

       □      No. How much do you actually spend?                      S
       n Yes


    26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
        your household or member of your immediate family who is unable to pay for such expenses. These expenses may
        include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
       of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                    S

       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8, then fill in the excess amount of home energy costs.
                                                                                                                                         $.
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $156.25*
       per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
       elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
       reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
       5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                     S.
       Add lines 25 through 31.




Official Form 122A-2                                              Chapter? Means Test Calculation                                        page 6
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Debtor 1
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                                 Middia Name
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                                                       Last Name
                                                                                                           Case number (rOtfiown),




    Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                      Average monthly
                  Mortgages on your home:                                                                             payment

           33a.   Copy line 9b here                                                                                     S.

                  Loans on your first two vehicles:
           33b.   Copy line 13b here.                                                                                   $

           33c.   Copy line 13e here.

           33d.   List Other secured debts:

                    Name of each creditor for other                Identify property that          Does payment
                    secured debt                                   secures the debt                include taxes
                                                                                                   or insurance?

                                                                                                    □    No
                                                                                                    □    Yes
                                                                                                                        S.


                                                                                                    □    No
                                                                                                    □    Yes

                                                                                                    □    No
                                                                                                    □    Yes
                                                                                                                     + S.

                                                                                                                                         Copy total
      33e. Total average monthly payment. Add lines 33a through 33d.                                                                     here^


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?
                                                                                                                                                                   I

      □ No. Go to line 35,
      □      Yes, State any amount that you must pay to a creditor, in addition to the payments
                  listed in line 33, to keep possession of your property (called the cure amount).
                  Next, divide by 60 and fill in the information below.
                     Name of the creditor             Identify property that          Total cure                       Monthly cure
                                                      secures the debt                amount                           amount

                                                                                                      + 60 =

                                                                                     S.               + 60 =           S.

                                                                                                      + 60 =        + $_
                                                                                                                                        Copy total
                                                                                                        Total          2.                             2
                                                                                                                                        here‘s


   35. Do you owe any priority claims such as a priority tax, child support, or alimony —
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
      □      No. Go to line 36.
                                                                                                                                                               I



      r~l Yes. Fill in the total amount of all of these priority claims. Do not include current or
               ongoing priority claims, such as those you listed in line 19.
                    Total amount of all past-due priority claims
                                                                                                                                        -60 =         $

Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                  page 7
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 Debtor 1                                                                                                 Case number (if(inoiwi).
                   first Numt     Middle Marne           Last Name




    36. Are you eligible to file a case under Chapter 13? 11 U.S.C, § 109(e).
        For more information, go online using the link for Bankruptcy Basics specified in the separate
        instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
       Q No. Go to line 37.
        □      Yes. Fill in the following information.

                      Projected monthly plan payment if you were filing under Chapter 13                                   $.
                      Current multiplier for your district as stated on the list issued by the
                      Administrative Office of the United States Courts (for districts in Alabama and
                      North Carolina) or by the Executive Office for United States Trustees (for all
                      other districts).                                                                                X

                      To find a list of district multipliers that includes your district, go online using the
                      link specified in the separate instructions for this form. This list may also be
                      available at the bankruptcy clerk’s office.
                                                                                                                                         Copy total
                      Average monthly administrative expense if you were filing under Chapter 13                                         here*^



   37. Add all of the deductions for debt payment.
       Add lines 33e through 36


    Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS
       expense allowances                                                       S.

      Copy line 32, All of the additional expense deductions.                   $.

      Copy line 37, All of the deductions for debt payment                    + S,

                                                         Total deductions       $                               Copy total here               ■»




    Part 3i
               I    Determine Whether There Is a Presumption of Abuse

   39. Calculate monthly disposable income for 60 months
        39a.    Copy line 4, adjusted current monthly income

       39b. Copy line 38, Total deductions.                                  - S

       39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                               Copy
                Subtract line 39b from line 39a.                                                                here^

                 For the next 60 months (5 years)                                                                                 X 60

                                                                                                                                             Copy
       39d. Total. Multiply line 39c by 60.                                                                                                  here^
                                                                                                                                                       S.


   40. Find out whether there is a presumption of abuse. Check the box that applies:

       n The line 39d is less than $7,475*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
         to Part 5.

       I I The line 39d is more than $12,475*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
           may fill out Pari 4 if you claim special circumstances. Then go to Part 5.

       [~] The line 39d is at least $7,475*, but not more than $12,475*. Go to line 41.

            * Subject to adjustment on 4/01/16, and every 3 years after that for cases fi led on or after the date of adjustment.

Official Form 122A-2                                                 Chapter 7 Means Test Calculation                                                 page 8
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 Debtor 1         <nm /vuM P'
                  Flr^t Name      MiddTe Name        Last Name
                                                                                                    Case number (itknawni




        41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out 4
                 Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
                 (Official Form 106Sum), you may refer to line 3b on that form
                                                                                                                       $.
                                                                                                                       X     .25

            41b, 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b){2)(A)(i)(l).                                          Copy
                 Multiply line 41a by 0.25                                                                                              here^




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

           □   Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
               Go to Part 5.


           n Line 39d Is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5,




Part 4:          Give Details About Special Circumstances


43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

    I     I No. Go to Part 5.

    I I Yes.    Fill in the following information. All figures should reflect your average monthly expense or income adjustment
                for each item. You may include expenses you listed in line 25,



                You must give a detailed explanation of the special circumstances that make the expenses or income
                adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
                expenses or income adjustments.


                 Give a detailed explanation of the special circumstances                                              Average monthly expense
                                                                                                                       or income adjustment

                                                                                                                       S.




Part 5:
           1   Sign Below                                                                                                                                   I




               By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               X                                                                      X
                   Signature of Debtor 1                                                  Signature of Debtor 2


                   Date                                                                   Date
                          MM/DD     /YYYY                                                        MM/DD     /YYYY



Official Form 122A-2                                             Chapter 7 Means Test Calculation                                                  page 9
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>
                                                                                                                                                     00 0 0 2
    Fill in this information to identify your case:

    Debtor 1
                       Firtt Name
                                      -PfU'l P. Middle Nam*                Last Nam*

    Debtor 2
    (Spouse, rf filing) FIrelKame               Middia Name                Last Name


    United States Bankruptcy Court for the: District of Northern Mariana Islands
    Case number                                                                                                                               □   Check if this is an
    (If known)                                                                                                                                    amended filing




      Official Form 108
      Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

      If you are an Individual filing under chapter 7, you must fill out this form if:
      ■ creditors have claims secured by your property, or
      ■ you have leased personal property and the lease has not expired.
      You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
      whichever Is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

      If two married people are filing together in a joint caso, both are equally responsible for supplying correct information.
      Both debtors must sign and date the form.
      Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
      write your name and case number (if known).

        Parti:          List Your Creditors Who Have Secured Claims

        1. For any creditors that you listed in Part 1         Schedule D: Creditors Who Have Claims Secured by Property {Omc\a\ Form 106D), fill in the
           information below.

               Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

             Creditor’s
             name:
                                                                                       □ Surrender the property.                          □ No
                                                                                       Q Retain the property and redeem it.               Q Yes
             Description of
             property                                                                  □ Retain the property and enter into a
             securing debt;                                                              Reaffirmation Agreement.
                                                                                       □ Retain the property and [explain): __

             Creditor's
                                                                                       □ Surrender the property.                          G No
             name:
                                                                                       G Retain the property and redeem it.               G Yes
             Description of
             property                                                                  □ Retain the property and enter into a
             securing debt:                                                                Reaffirmation Agreement.
                                                                                       G Retain the property and [explain]: __



             Creditor’s
             name:
                                                                                       G   Surrender the property.                        G No

                                                                                       G   Retain the property and redeem it.             G Yes
             Description of
             property                                                                  G Retain the property and enter info a
             securing debt:                                                              Reaffirmation Agreement.
                                                                                       G Retain the property and [explain]: _



            Creditor’s
                                                                                       G Surrender the property.                          G No
            name:
                                                                                       G   Retain the property and redeem it.             G Yes
            Description of
            property                                                                   G   Retain the property and enter into a
            securing debt;                                                                 Reaffirmation Agreement.
                                                                                       G   Retain the property and [explain]: _



     Official Form 108                           Statement of Intention for Individuals Filing Under Chapter 7                                    page 1
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 Debtor 1                                                                                               Case number (//*noivn).
                   Pint Nsme          MidOie Nam<      Last Name




   Part 2:         List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C.§ 365(p)(2).

        Describe your unexpired personal property leases                                                                          Will the lease be assumed?

       Lessor’s name:                                                                                                             □ No
                                                                                                                                  □ Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                             □ No
                                                                                                                                  □ Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                             □ No

       Description of leased                                                                                                      Q Yes
       property;


       Lessor’s name:                                                                                                             G No
                                                                                                                                  G Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                             G No
                                                                                                                                  G Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                             G No
                                                                                                                                  G Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                             G No
                                                                                                                                  G Yes
       Description of leased
       property:



  Part 3i
              I    Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.


   X                                                                X
       Signature of Debtor 1                                            Signature of Debtor 2


       Date                                                             Date
              mi    DD    /    YYYY                                            MM /   DO /   YYYY




Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                                 page 2
